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                     Exhibit 18
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GOLD COLLECTIVE, LLC, THE                                                    Update this Business


Entity Number: 12361613-0161
Company Type: LLC - Foreign
Address: 1810 East Sahara Avenue Suite 425 Las Vegas, NV 89104
State of Origin: NV
Registered Agent: Roydon Bleak Nelson
Registered Agent Address:
1812 W. Sunset Blvd Suite #1-345                                          View Management Team

St. George, UT 84770

Status: Active                                                    Purchase Certificate of Existence



Status: Active    as of 06/22/2021
Renew By: 06/30/2024
Status Description: Current
The "Current" status represents that a renewal has been filed, within the most recent
renewal period, with the Division of Corporations and Commercial Code.
Employment Verification: Not Registered with Verify Utah

                                                                            View Filed Documents
History

Registration Date: 06/22/2021
Last Renewed: 05/16/2023

Additional Information

NAICS Code: 2122 NAICS Title: 2122-Metal Ore Mining

<< Back to Search Results




                                                                                                      Give Feedback
          Business Name:
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                     Exhibit 19
SEC-ZFNB-E-0000394
          Case 2:23-cv-00482-RJS Document 125-3 Filed 09/01/23 PageID.2049 Page 4 of 119
Case 2:23-cv-00482-RJS Document 125-3 Filed 09/01/23 PageID.2050 Page 5 of 119




                     Exhibit 20
SEC-ZFNB-E-0000620
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                     Exhibit 21
                                               Case 2:23-cv-00482-RJS Document 125-3 Filed 09/01/23 PageID.2053 Page 8 of 119
                                                                                                                                 Electronically Filed
                                                                                                                                 7/6/2023 2:15 PM
                                                                                                                                 Steven D. Grierson
                                                                                                                                 CLERK OF THE COURT


                                           1    COMP
                                                SHAWANNA L. JOHNSON, ESQ.
                                           2    Nevada Bar No.: 12791
                                                Law Offices of Shawanna L. Johnson, Esq.
                                           3    3311 S. Rainbow Blvd., Suite 144                                           CASE NO: A-23-873510-C
                                                Las Vegas, NV 89146                                                                 Department 13
                                           4    Tel: 702-755-6949
                                                Fax: 702-294-2229
                                           5    sjohnson@sljlaw702.com
                                                Attorney for Plaintiffs
                                           6
                                                                              EIGHTH JUDICIAL DISTRICT COURT
                                           7                                      CLARK COUNTY, NEVADA

                                           8
                                                THE MINERAL COLLECTIVE, LLC, a
                                                Nevada Limited Liability Company d/b/a THE                CASE NO. __________________
                                           9
                                                GOLD COLLECTIVE, LLC; DIGITAL
LAW OFFICES OF SHAWANNA L. JOHNSON, ESQ.




                                                LICENSING, INC., a Wyoming Corporation,
                                  10                                                                      DEPT. NO. __________________
     3311 S. RAINBOW BLVD., SUITE 103




                                                                             Plaintiff(s),
                                  11                                                                      COMPLAINT
             LAS VEGAS, NV 89146




                                                                      -vs-
                                  12                                                                      Exempt from Arbitration:
                                                                                                             Amount in controversy greater than
                                  13            JOHN ANTRIM GIULIANO, an individual;                         $50,000.00
                                                HOLISTIC HORMONE SOLUTIONS, LLC, a
                                  14            Nevada Limited Liability Company;
                                                VIBRANT INVESTMENT GROUP, INC., a
                                  15            Florida Corporation; DOE INDIVIDUALS I
                                                through X; ROE ENTITIES I through X,
                                  16            inclusive,

                                  17                                           Defendant(s).

                                  18                   COMES NOW, Plaintiffs The Mineral Collective, LLC d/b/a The Gold Collective, LLC,
                                  19            and Digital Licensing, Inc., (collectively referred to as “Gold Collective” or “Plaintiffs”), by and
                                  20            through their attorney, SHAWANNA L. JOHNSON, ESQ., hereby file this Complaint, and aver
                                  21            and allege the following:

                                  22                                                         THE PARTIES

                                  23                   1.      Plaintiff The Mineral Collective, LLC, is a Nevada Limited Liability Company,

                                  24            with a principal place of business at 1810 E. Sahara Avenue, Suite 425, Las Vegas, NV 89104.

                                  25            The Mineral Collective does business as The Gold Collective, LLC.

                                  26

                                  27                                                                 1

                                  28
                                                                                         Case Number: A-23-873510-C
     Case 2:23-cv-00482-RJS Document 125-3 Filed 09/01/23 PageID.2054 Page 9 of 119




1             2.        Plaintiff Digital Licensing, Inc. (“DLI”), is a Wyoming Corporation, with a

2     principal place of business at 30 N. Gould Street, Suite N, Sheridan, WY 82801. The Company

3     is authorized to and does conduct business in Nevada, thereby availing itself of this jurisdiction.

4             3.        The Gold Collective and DLI are managed by Schad E. Brannon and Roy

      Nelson.
5
              4.        Defendant John Antrim Giuliano is an individual citizen of the State of
6
      Washington, with a home address of 317 112th Street, NE, #254, Bellevue, WA 98004. He
7
      conducts business through his companies, one of which is a Nevada Limited Liability
8
      Company, and one of which is a Florida Corporation which does business in Nevada.
9
              5.        Defendant Holistic Hormone Solutions, LLC (“HHS”) is a Nevada Limited
10
      Liability Company, with a principal place of business at 9525 Hillwood Drive, Suite 100, Las
11
      Vegas, NV 89134. It is managed by Giuliano.
12
              6.        Defendant Vibrant Investment Group, Inc., is a Florida Corporation, with a
13
      principal place of business at 100 SE 6th Street, Ft. Lauderdale, FL 33301. It is also managed by
14
      Giuliano. The Company does business in Nevada, and has purposely availed itself of the
15
      benefits of this jurisdiction, thus making personal jurisdiction over the company fair and just.
16            7.        The true names and capacities, whether individual, corporate, associate, or
17    otherwise, of Defendants Does I through X and Roe Corporations X through XX, including
18    without limitation, any employer, franchisor, or owner d/b/a thereof, not currently known and
19    therefore not yet named herein, are unknown to Plaintiff, who therefore sues said Defendants by

20    such fictitious names. Plaintiffs are informed and believe, and therefore allege, that each of the

21    Defendants designated as Doe Defendants or Roe Corporations is responsible in some manner

22    for the events and occurrences referred to in this Complaint, and/or owes money to Plaintiffs

23    and/or may be affiliated with the Defendants. Plaintiffs will ask leave of the Court to amend

24
      this Complaint to insert the true names and capacities of Doe Defendants I through X and Roe

      Corporations X through XX when the same have been ascertained, and to join said Defendants
25
      in this action.
26

27                                                     2

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1                                         JURISDICTION AND VENUE

2             8.      Plaintiffs incorporate the allegations of the preceding paragraphs as though fully

3     set forth herein.

4             9.      Jurisdiction is proper in this Court, as the acts and complaints alleged herein

      involve a contract for money loaned and breach thereof, which was executed and/or partially
5
      performed in Clark County, Nevada.
6
              10.     Venue is proper in this Court, as the actions and complaints alleged herein
7
      involve a contract for money loaned and breach thereof, which was executed and/or partially
8
      performed in Las Vegas, Nevada, and as the Defendants are citizens of the State of Nevada or
9
      have purposely availed themselves of Nevada law.
10
                                           GENERAL ALLEGATIONS
11
              11.     Plaintiffs incorporate the allegations of the preceding paragraphs as though fully
12

13    set forth herein.

14            12.     This Complaint involves Plaintiffs’ suit for breach of contract related to money

15    loaned to Defendants and each of them to for general business development activities and to

16    perform work for Plaintiffs’ businesses, including but not limited to, digital currency projects,
17    natural resource development projects, and development of new commodity business
18
      opportunities with third parties known to the Defendants.
19
              13.     On or about October 22, 2021, Plaintiffs entered into a loan transaction with
20
      Defendant Giuliano on his own behalf, and on behalf of his companies Vibrant Investment
21
      Group, Inc., and Holistic Hormone Solutions, LLC.
22
              14.     Plaintiffs loaned a total of $153,000.00, which was wired into the accounts of all
23
      three Defendants as follows:
24

25        Date              Amount               Entity                      Wire Confirmation
          10/22/2021        $3,000.00            Holistic Hormone Sol.       2021202200004039
26

27                                                     3

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     Case 2:23-cv-00482-RJS Document 125-3 Filed 09/01/23 PageID.2056 Page 11 of 119




          12/20/2021        $71,000.00          Vibrant Invest. Group     2021122000000196
1
          12/20/2021        $71,000.00          John Giuliano             2021122000007803
2
          4/7/2022          $5,000.00           Holistic Hormone Sol.     2022040700001534
          4/15/2022         $3,000.00           Holistic Hormone Sol.     2022041500007100
3

4            15.     Defendant Giuliano indicated that he would use the money, along with his

5     companies, for general business development to build his businesses and also to aid in building
6
      Plaintiffs’ businesses as well.
7
             16.     Defendants accepted the money as loans, and agreed and became bound to pay
8
      back the amounts loaned.
9
             17.     Plaintiffs are in the mineral location and mining business, and contract with
10
      individuals all over the world to further their mining practices. Defendants agreed to be bound
11
      by the promise to repay, and represented that they had the tools and strategy to help promote
12

13
      and grow Plaintiffs’ mining interests through local connections, research, developing business

14    systems, and identifying new sources for mining activity.

15           18.     Defendants did not perform as expected.

16           19.     The loans, however, were not based on whether Defendants performed, or not,

17    and were to be repaid regardless of the outcome.
18
             20.     Despite numerous communications between the parties, and Defendants’
19
      promises to repay, no payment has been made. Thus, the entirety of the $153,000.00 is
20
      outstanding.
21
             21.     Plaintiffs caused to be sent a Demand of Repayment letter on February 15, 2023,
22
      as a last attempt to have Defendants make arrangements to repay the debt.
23
             22.     Defendants did not respond to the letter, and have refused further
24

25
      communications.

26

27                                                   4

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              23.     Therefore, this lawsuit is necessary for Plaintiffs to collect their money, along
1
      with interest as permitted, and attorney’s fees and any other consequential damages.
2

3             24.     Given that Defendants have never repaid any of the loaned funds, and have

4     stopped communicating altogether, there is a reasonable claim that Giuliano, on his own behalf

5     and that of his companies, fraudulently misrepresented his intentions with respect to the use of

6     funds and his ability to deliver on his business development promises.
7
              25.     Giuliano did not provide any definitive proof of his efforts and activities, and did
8
      not provide progress updates, written correspondence, or any deliverables to justify his work or
9
      efforts with the loan money.
10
              26.     Plaintiffs believe Giuliano misrepresented his intentions and capabilities.
11
      Specifically, he promised to develop multiple business opportunities with companies in Nevada,
12
      Texas, Louisiana, Arizona, Peru, and California.
13
              27.     He promised to connect the managers and CEOs of these projects in these
14

15    jurisdictions with Plaintiffs’ businesses, thereby growing profitable lines of business such as

16    natural gas and oil leases, petrol products, securities and credit facilitation, tokenization of

17    assets, real estate and project financing, software mining licenses, cargo shipping, and

18    acquisitions of oil fields.
19
              28.     He did not deliver on any of it. He did not make single connection or project in
20
      any of the aforementioned jurisdictions or with any of the specific business partners with which
21
      he described as having personal connections.
22
              29.     His ultimate lack of communication or delivery of any useful work, along with
23
      non-payment of any of the funds, is a strong indicia of fraud and intentional misrepresentation.
24

25

26

27                                                      5

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             30.     It appears that at the time he borrowed the money, he did not intend to use any of
1
      the money for legitimate purposes, and did not intend to pay back the money.
2

3            31.     Instead, he used the money to travel, staying in 4 star and 5 star hotels pretending

4     to conduct business development activities when in fact he was simply funding an international

5     lifestyle taking trips sometimes with his girlfriend Vanessa.

6            32.     Upon information and belief, he traveled with his girlfriend for personal pleasure
7
      to locations such as Iceland, Fiji, Dubai, Cypress, Monaco, Ireland, Las Vegas, Los Angeles,
8
      New York, and Miami, just to name a few.
9
             33.     As collection efforts stepped up over the last several months, Giuliano made
10
      empty promises to repay, only to eventually cut off all communications with Plaintiffs.
11
             34.     Plaintiffs are therefore entitled to compensatory damages for the amount loaned,
12
      plus special and/or punitive damages for fraud and intentional misrepresentation.
13
             35.     Plaintiffs have been harmed by Defendants’ actions, in that they are without the
14

15    use of their money, and have no reasonable means outside of the legal process to collect their

16    damages.

17           36.     Plaintiffs bring this lawsuit to be vindicated, to be made whole, and to recover

18    their damages and financial outlays, including interest, attorney’s fees, and costs.
19
             37.     As a result of the Defendants’ actions, Plaintiffs have been required to retain the
20
      services of the undersigned to prosecute this action and to seek reimbursement for the damages
21
      they have suffered therefrom, in an amount to be determined at trial, but in no event less than
22
      $15,000.00.
23
      //
24
      //
25

26

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                                       FIRST CLAIM FOR RELIEF
1                                    Breach of Contract – All Defendants
2
              38.     Plaintiffs incorporate the allegations of the preceding paragraphs as though fully
3
       set forth herein.
4
              39.     Defendants borrowed $153,000.00 in or about October 2021, agreeing to repay
5
      the amounts in full.
6
              40.     Plaintiffs performed under the contract and wired the money to Defendants on
7
      the dates set forth herein.
8

9             41.     Defendants breached the Agreement without justification and have refused to

10    repay any amounts. Defendant did not provide any deliverables and failed to make any of the

11    promised business connections.

12            42.     Defendants also breached the Agreement by not using the money for the
13
      intended purpose of business development for Plaintiffs’ benefit, and instead used the money
14
      for personal travel and enrichment.
15
              43.     Defendants have cut off all contact and have made no efforts to repay.
16
              44.     Plaintiffs have been damaged by Defendants’ actions, which are the actual and
17
      proximate cause of said damages.
18
              45.     As a result of the Defendants’ actions, Plaintiffs have been required to retain the
19

20
      services of the undersigned to prosecute this action and to seek reimbursement for the damages

21    they have suffered therefrom, in an amount to be determined at trial, but in no event less than

22    $15,000.00.

23                                   SECOND CLAIM FOR RELIEF
                    Breach of the Covenant of Good Faith and Fair Dealing – John Giuliano
24
              46.     Plaintiffs incorporate the allegations of the preceding paragraphs as though fully
25
      set forth herein.
26

27                                                     7

28
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1            47.     In every Nevada contract is an implied duty of good faith and fair dealing,

2     whereby the parties covenant to act in good faith in carrying out the provisions of the contract.

3            48.     The loan agreement in this case constitutes a contract under Nevada law, and

4     Defendant John Giuliano was thus required to act in good faith with respect to the Agreement.

5            49.     Good faith means honesty in fact and the observance of reasonable commercial

6     standards of fair dealing.

7            50.     In this case, Giuliano breached his duty, by making empty promises about his

8     intentions and capabilities, but yet failing to carry through on any of his promises.

9            51.     He provided Plaintiffs with a specific list of contacts, companies, and business

10    opportunities that induced Plaintiffs to loan him the money. He gave names, locations, and

11
      promises about connecting his purported contact list and business people with Plaintiffs in order

12
      to grow Plaintiffs’ businesses in oil and gas, mineral exploration, funding, tokenization, and

      other financial arrangements ancillary to their businesses.
13
             52.     Guiliano did not connect any of these contacts to Plaintiffs, and has not delivered
14
      any written or other proof of his work and has not accounted for the use of Plaintiffs’ money.
15
             53.     Guiliano remained bound, for himself and on behalf of his companies, to repay
16
      the money loaned regardless of the outcome of his agreements and promises.
17
             54.     Not only did he not deliver on his agreements and promises, but he has also not
18
      repaid any of the loaned money.
19
             55.     It is clear that Defendant Giuliano intended to borrow the money under false
20
      pretenses, and has not repaid the funds as agreed.
21
             56.     Defendant Giuliano made such promises to induce Plaintiffs to loan him the
22
      money. Had he not exaggerated his intentions and efforts and experience, Plaintiffs would not
23
      have loaned him the money.
24
             57.     As it stands, his failure to perform and to repay, knowing full well at the time he
25
      borrowed the money that he would not thus comply, constitutes bad faith.
26

27                                                     8

28
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1             58.     Defendant’s bad faith actions are the proximate and actual cause of Plaintiffs’

2     damages.

3             59.     As a result of the Defendant’s actions, Plaintiffs have been required to retain the

4     services of the undersigned to prosecute this action and to seek reimbursement for the damages

5     they have suffered therefrom, in an amount to be determined at trial, but in no event less than

6     $15,000.00.
                                      THIRD CLAIM FOR RELIEF
7                                    Unjust Enrichment – All Defendants
8             60.     Plaintiffs incorporate the allegations of the preceding paragraphs as though fully

9     set forth herein.

10          61.       Defendants have received and accepted the benefit of Plaintiffs’ money, which

11    was supposed to be used for their business development and also to provide business

12    development for Plaintiffs’ global mining businesses.

13            62.     Plaintiffs complied with their part of the deal, and Defendants received and

14    accepted $153,000.00 as a loan that needed to be repaid.

15            63.     Defendants received the benefit of the money, but did not provide the services

16
      promised, and did not repay the money.

17
              64.     It would be unfair and not in good conscience and equity for Defendants to

      receive $153,000.00 for turning in no work, performing no discernable duties, and for not
18
      repaying the loaned amount.
19
              65.     Defendants would be unjustly enriched at Plaintiffs’ expense if the Court allows
20
      them to hide behind their bad actions and theft without paying for the valuable money loaned to
21
      them.
22
              66.     Accordingly, Plaintiffs should recover the maximum damages against
23
      Defendants to prevent such unjust enrichment.
24
              67.     As a result of the Defendants’ actions, Plaintiffs have been required to retain the
25
      services of the undersigned to prosecute this action and to seek reimbursement for the damages
26

27                                                     9

28
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1     they have suffered therefrom, in an amount to be determined at trial, including attorney’s fees

2     and costs, but in no event less than $15,000.00.

3                                   FOURTH CLAIM FOR RELIEF
                               Fraudulent Misrepresentation – All Defendants
4
              68.     Plaintiffs incorporate the allegations of the preceding paragraphs as though fully
5
      set forth herein.
6
              69.     Defendants promised to use the funds loaned for general business development
7
      purposes for their own businesses, and to further the interests of Plaintiffs’ mining and financial
8
      operations.
9
              70.     Defendants made promises and misrepresentations concerning their capabilities,
10
      intended use of funds, and business acumen and experience.               Defendants made those
11
      misrepresentations to induce Plaintiffs to loan the money.
12
              71.     All of those promises turned out to be false. It appears from Defendants’ actions,
13
      they never intended to comply with their stated intentions or with repayment of the money.
14
              72.     After receiving the money, Defendants produced little in the way of firm client
15
      development results, and did not send updates, deliverables, or anything tangible to document
16
      their work on Plaintiffs’ behalf.
17
              73.     Defendants also used the money for personal travel all over the world.
18
              74.     None of the purported travel or money spent provided any benefit to Plaintiffs.
19
              75.     Defendants further did not make any payments towards the $153,000.00 loan,
20    and have now cut off all contact and communications.
21            76.     Defendants thus engaged in fraudulent and bad faith behavior by taking the
22    money, and delivering none of the services, and then failing to repay even a dime of the money.
23    These are all indicia of fraud, as it shows Defendants did not intend to remain true to the
24    purpose of the transactions herein.
25

26

27                                                       10

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1             77.      Had Plaintiffs known that Defendants would not comply, they would not have

2     loaned the money.

3             78.      Defendants’ actions have harmed Plaintiffs, in that they have been defrauded out

4     of $153,000.00, and have nothing to show for it and no repayment.

5             79.      Defendants’ bad faith actions are the proximate and actual cause of Plaintiffs’

6     damages.

7             80.      As a result of the Defendant’s actions, Plaintiffs have been required to retain the

8     services of the undersigned to prosecute this action and to seek reimbursement for the damages

9     they have suffered therefrom, in an amount to be determined at trial, but in no event less than

10    $15,000.00.

11
              Plaintiffs reserve the right to amend their Complaint upon discovery of additional causes
12
      of action or claims for relief.
13
              WHEREFORE, Plaintiffs seek the following relief:
14
                    1. Judgment in their favor on all claims;
15

16
                    2. Attorney’s fees and costs incurred in bringing his action;

17                  3. Prejudgment and post-judgment interest to the extent permitted by law;

18                  4. Any special or punitive damages to the extent permitted by law;

19                  5. Any other relief the Court deems just and proper.
20            Dated this 6th day of July, 2023.
21
                                                      Respectfully submitted,
22

23
                                                      /s/ Shawanna L. Johnson
                                                      SHAWANNA L. JOHNSON, ESQ.
24
                                                      Nevada Bar No. 12791
                                                      Law Offices of Shawanna L. Johnson, Esq.
                                                      3311 S. Rainbow Blvd., Suite 144
25
                                                      Las Vegas, NV 89146
                                                      Attorney for Plaintiffs
26

27                                                      11

28
     Case 2:23-cv-00482-RJS Document 125-3 Filed 09/01/23 PageID.2064 Page 19 of 119




                                              VERIFICATION
1
             Under penalties of perjury, I declare that I am the representative of the Plaintiffs in the
2
      above-titled action, that I have read the foregoing Complaint, and know the contents thereof;
3
      that the pleading is true to the best of my knowledge, except for those matters contained therein
4
      which are stated upon information and belief, and as to those matters, I believe them to be true.
5
             I declare under penalty of perjury under the laws of the State of Nevada that the
6
      foregoing is true and correct.
7
             Dated this 3rd day of July, 2023.
8

9
                                                   /s/ Schad E. Brannon (with permission)
10                                                 SCHAD E. BRANNON, on behalf of Plaintiffs
11

12

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                                                 State Of Delaware
                                                      Entity Details

                                                                                                 5/26/2022 12:09:31PM


       File Number: 7679222                            Incorporation Date / Formation Date: 10/30/2019

       Entity Name: UIU HOLDINGS LLC

        Entity Kind: Limited Liability Company            Entity Type: General

         Residency: Domestic                                    State: DELAWARE

            Status: Good Standing                        Status Date: 10/30/2019

Registered Agent Information

             Name: HARVARD BUSINESS SERVICES, INC.

           Address: 16192 COASTAL HWY

               City: LEWES                                     Country:

             State: DE                                    Postal Code: 19958

            Phone: 302-645-7400
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UIU HOLDINGS LLC                                                             Update this Business


Entity Number: 13164076-0161
Company Type: LLC - Foreign
Address: 16192 Coastal Hwy Lewes, DE 19958
State of Origin: DE
Registered Agent: Jason Anderson
Registered Agent Address:
1086 Skyler Dr                                                            View Management Team

Draper, UT 84020

Status: Active                                                    Purchase Certificate of Existence



Status: Active    as of 12/14/2022
Renew By: 12/31/2023
Status Description: Current
The "Current" status represents that a renewal has been filed, within the most recent
renewal period, with the Division of Corporations and Commercial Code.
Employment Verification: Not Registered with Verify Utah

                                                                            View Filed Documents
History

Registration Date: 12/14/2022
Last Renewed: N/A

<< Back to Search Results




                                                                                                      Give Feedback
          Business Name:
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Exhibit A – Accounts Listing
                                                                                                        Business Deposit Account
                                                                                                                    Signature Card
                                                                                                       Exhibit A – Accounts Listing
Primary Account Owner: UIU Holdings LLC

Accounts Listing
                  Account Number                        Update                          Account Number                           Update
                                                          Add                                                                     Add
       0589
                                                          Delete                                                                  Delete
                                                          Add                                                                     Add
                                                          Delete                                                                  Delete
                                                          Add                                                                     Add
                                                          Delete                                                                  Delete
                                                          Add                                                                     Add
                                                          Delete                                                                  Delete
                                                          Add                                                                     Add
                                                          Delete                                                                  Delete
                                                          Add                                                                     Add
                                                          Delete                                                                  Delete
                                                          Add                                                                     Add
                                                          Delete                                                                  Delete
                                                          Add                                                                     Add
                                                          Delete                                                                  Delete
                                                          Add                                                                     Add
                                                          Delete                                                                  Delete


   Check box if Exhibit A – Multiple Accounts amends a prior Exhibit A.

FOR BANK USE ONLY
Date: 09/10/2021            Branch #: 1151                       Employee Initials: ME




Updated 11.6.19                                                           © 2018 Washington Federal Bank. All rights reserved.
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Case 2:23-cv-00482-RJS Document 125-3 Filed 09/01/23 PageID.2102 Page 57 of 119
Case 2:23-cv-00482-RJS Document 125-3 Filed 09/01/23 PageID.2103 Page 58 of 119
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                    Business License Details / ΔϳΩΎλΗϗϻ΍ΔλΧέϟ΍ϝϳλΎϔΗ


               23108     BL Local No / ϲϠΣϣϟ΍ΔλΧέϟ΍ϡϗέ                                  11885985                           CBLS No / ϱΩΎλΗϗϻ΍ϝΟγϟ΍ϡϗέ

                                                                       αϭΎϫέϳϭΗϓϭγϲΗϳΩϭϣϭϛϝΎΗϳΟϳΩ         Business Name Arabic / ϰΑέϋϱΩΎλΗϗϻ΍ϡγϻ΍
                                                DIGITAL COMMODITY SOFTWARE HOUSE                           Business Name English / ϱίϳϠΟϧ΍ϱΩΎλΗϗϻ΍ϡγϻ΍

                                                                                      ΓέΣΔϘρϧϣΔγγ΅ϣ                           Legal Type / ϲϧϭϧΎϘϟ΍ϝϛηϟ΍

                           Parent BL No / ϡϷ΍Γ΄ηϧϣϟ΍ϡϗέ                                             ϻ                                   Is Branch / ωέϓ

           30/05/2023         Expiry Date / ˯ΎϬΗϧϻ΍ΦϳέΎΗ                               31/05/2022                                Est. Date / αϳγ΄Ηϟ΍ΦϳέΎΗ

                                                                                     Expired / ϲϬΗϧϣ                                         Status / ΔϟΎΣ

                                                                                        01/08/2022                              Modify Date / ϝϳΩόΗϟ΍ΦϳέΎΗ

                                                              : ϝΎλΗϹ΍ΓίϬΟ΃ϭϲϟϵ΍ΏγΎΣϟ΍ϡυϧϡϳϣλΗ,                    BA Desc. Arabic / ϲΑέϋρΎηϧϟ΍ϡγ΍

                                                                                : Software House,                   BA Desc. English / ϱίϳϠΟϧ΍ρΎηϧϟ΍ϡγ΍

                                                                      ϲϟϭΩϟ΍ΔϗέΎηϟ΍έΎρϣϟΓέΣϟ΍ΔϘρϧϣϟ΍        Economic Department / ΓέΎϣ΍έ΍Ωλϻ΍ϥΎϛϣ

                                                                                                                      Registration ED Branch/ωέϓϝϳΟγΗ

                                                                                00971503678660                               Mobile No / ϝϭϣΣϣϟ΍ϑΗΎϬϟ΍ϡϗέ

                                          Fax No / αϛΎϓ                                                                             Phone No / ϑΗΎϬϟ΍ϡϗέ

  6patrick8@gmail.com              eMail / ϲϧϭέΗϛϟϻ΍ΩϳέΑϟ΍                                                                     PO. Box / ΩϳέΑϟ΍ϕϭΩϧλϡϗέ

                                                                                                                           Web Site URL / ϲϧϭέΗϛϟϻ΍ϊϗϭϣϟ΍

                                                      Saif Office Q1-08-049/C Sharjah - U.A.E                                 Full Address / ϝϣΎϛϟ΍ϥ΍ϭϧόϟ΍




              1   ΔΣϔλ                                                                                     8/24/2023 5:05:23 PM ΔϋΎΑρϟ΍Εϗϭϟ΍
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                 Business License Details / ΔϳΩΎλΗϗϻ΍ΔλΧέϟ΍ϝϳλΎϔΗ


            22922      BL Local No / ϲϠΣϣϟ΍ΔλΧέϟ΍ϡϗέ                          11997556                         CBLS No / ϱΩΎλΗϗϻ΍ϝΟγϟ΍ϡϗέ

                                                               ΡϡεαϭΎϫϲΗϳΩϭϣϭϛϝΎΗϳΟϳΩ     Business Name Arabic / ϰΑέϋϱΩΎλΗϗϻ΍ϡγϻ΍
                                                    DIGITAL COMMODITY HOUSE - FZCO             Business Name English / ϱίϳϠΟϧ΍ϱΩΎλΗϗϻ΍ϡγϻ΍

                                                                             ΓέΣΔϘρϧϣΔϛέη                         Legal Type / ϲϧϭϧΎϘϟ΍ϝϛηϟ΍

                         Parent BL No / ϡϷ΍Γ΄ηϧϣϟ΍ϡϗέ                                   ϻ                                   Is Branch / ωέϓ

        14/11/2023          Expiry Date / ˯ΎϬΗϧϻ΍ΦϳέΎΗ                       15/11/2022                              Est. Date / αϳγ΄Ηϟ΍ΦϳέΎΗ

                                                                               Active / ϝΎόϓ                                     Status / ΔϟΎΣ

                                                                              12/06/2023                            Modify Date / ϝϳΩόΗϟ΍ΦϳέΎΗ

                     : Simulation Equipment &amp; Systems Trading &amp; Maintenance,                        BA Desc. Arabic / ϲΑέϋρΎηϧϟ΍ϡγ΍

                     : Simulation Equipment &amp; Systems Trading &amp; Maintenance,                    BA Desc. English / ϱίϳϠΟϧ΍ρΎηϧϟ΍ϡγ΍

                                                                   ϥϭϛϳϠϳγϠϟϲΑΩΔΣ΍ϭ - DSO         Economic Department / ΓέΎϣ΍έ΍Ωλϻ΍ϥΎϛϣ

                                                                                                          Registration ED Branch/ωέϓϝϳΟγΗ

                                                                                                                 Mobile No / ϝϭϣΣϣϟ΍ϑΗΎϬϟ΍ϡϗέ

                                        Fax No / αϛΎϓ                                                                   Phone No / ϑΗΎϬϟ΍ϡϗέ

                                 eMail / ϲϧϭέΗϛϟϻ΍ΩϳέΑϟ΍                                                           PO. Box / ΩϳέΑϟ΍ϕϭΩϧλϡϗέ

                                                                                                               Web Site URL / ϲϧϭέΗϛϟϻ΍ϊϗϭϣϟ΍

                                                                                      DSO                         Full Address / ϝϣΎϛϟ΍ϥ΍ϭϧόϟ΍




           1   ΔΣϔλ                                                                            8/24/2023 5:05:43 PM ΔϋΎΑρϟ΍Εϗϭϟ΍
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                      Exhibit 27
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                                  Wallets In Question
      No. Address
 1                                     d6D0                  EGI POOL
 2                                       38f0                DEBT COUNCIL
                                                      DEBT
 3                                       94B2                PIGGY BANK
 4                                      EF45                 PAYMENT WALLET
 5                                      FcD8                 EGI POOL
 6                                      9d03                 DEBT COUNCIL
 7                                        5Ad7        BGLD   PIGGY BANK
 8                                       3536                PAYMENT WALLET
 9                                       3536                PAYMENT WALLET
 10                                      1c7f                EGI POOL
 11                                    9058                  DEBT COUNCIL
                                                     GROW
 12                                      4054                PIGGY BANK
 13                                     7844                 PAYMENT WALLET
 14                                      B534                EGI POOL
 15                                       102E               DEBT COUNCIL
                                                      NATG
 16                                       FA6e               PIGGY BANK
 17                                      d456                PAYMENT WALLET
 18                                       fBc1               EGI POOL
 19                                      cbE1                TREASURY WALLET
                                                      XPLR
 20                                    116E                  PIGGY BANK
 21                                     5189                 BUY & BURN
 22                                      1176                EGI POOL
 23                                       55A3               DEBT COUNCIL
                                                      DLG
 24                                      C20e                PIGGY BANK
 25                                      828E                PAYMENT WALLET
 26                                      2FD8                EGI POOL
 27                                      7ae4                TREASURY WALLET
                                                      ALUM
 28                                      E203                PIGGY BANK
 29                                      6e58                BUY & BURN
 30                                    E2aC                  EGI POOL
 31                                      E98c                BUY & BURN
 32                                      E98c         BEV    BUY & BURN
 33                                      3C88                PIGGY BANK
 34                                     384B                 PAYMENT WALLET
 35                                      bb2d                EGI POOL
 36                                      Cf75         BLOX   PIGGY BANK
 37                                     6147                 PAYMENT WALLET
 38                                     B9F8                 EGI POOL
 39                                      5B0a                AIR DROP
 40                                      e70d         DRIP   PIGGY BANK
 41                                      A42E                PAYMENT WALLET
 42                                      De99                TREASURY WALLET
 43                                     CBFb                 EGI POOL

                                                      DCM
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 44                                      60AC                   PIGGY BANK
 45                                       590B        DCM       BUY & BURN
 46                                       dA83                  TREASURY WALLET
 47                                       Ffd0                  AIR DROP
 48                                       7D7B                  EGI POOL
                                                      REV
 49                                       3461                  BUY & BURN
 50                                       E74e
 51                                      FF3E       DCH ASSET
 52                                       3684
 53                                      6e22         XPLR    LIQUIDITY WALLET
 54                                      a9b8        GROW     TREASURY WALLET
 55                                       e206        BGLD    LIQUIDITY WALLET
 56                                     1BcE          NATG    LIQUIDITY WALLET
 57                                       69ED        ALUM    LIQUIDITY WALLET
 58                                  48ek           DCH ASSET
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   Duplicates




   Duplicates
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                      Exhibit 28
The Wayback Machine - https://web.archive.org/web/20221130181728/https://www.thedebtbox.com/terms…
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                             Purchase and
                           License Terms of
                                 Sale
                        Last Modified: April 13, 2022

                        These DEBT Box Purchase and License Terms of
                        Sale ("Terms") are entered into by and between you
                        (" you" and " your") and Digital Licensing, Inc. and its
                        affiliates, including DEBT Box (collectively " DEBT ,""
                        we ," or " us"), and govern the purchase and use of
                        hardware and software purchased from us through
                        the Website and the use of the Portal provided by
                        us. When you make a purchase on our Website,
                        these terms are incorporated with the Website
                        Terms and Conditions and collectively form the
                        agreement between you and DEBT. By accepting
                        these Terms you further acknowledge and accept
                        the Website Terms of Use.

                        PLEASE READ THESE TERMS CAREFULLY! THEY
                        INCLUDE AN ARBITRATION PROVISION
                        REQUIRING INDIVIDUAL ARBITRATION OF
                        DISPUTES INSTEAD OF JURY TRIALS OR CLASS
                        ACTIONS. By submitting your order or accepting or
                        using products offered through the Website, you
                        acknowledge that you agree to these Terms in their
                        entirety as further provided in Section 1 below.

                          1. Acceptance

                            BY CLICKING THE "I ACCEPT" BUTTON OR
                            SIMILAR ATTESTATION WHEN SUCH OPTION IS
                            MADE AVAILABLE TO YOU WHEN
                            PURCHASING THE HARDWARE AND/OR ANY
                            LICENSE TO SOFTWARE, OR FOR APPLICABLE
                            PROJECTS, OR OTHERWISE REGISTERING FOR
                            THE PORTAL, YOU ACCEPT AND AGREE TO BE
                            BOUND BY THESE TERMS OF USE EFFECTIVE
                            AS OF THE DATE OF SUCH ACTION. YOU
                            EXPRESSLY ACKNOWLEDGE AND REPRESENT
                   THAT YOU HAVE CAREFULLY REVIEWED
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                   THESE TERMS AND CONDITIONS AND FULLY
                   UNDERSTAND THE RISKS, COSTS, AND
                   BENEFITS RELATED TO THE HARDWARE,
                   SOFTWARE, AND ANY APPLICABLE PROJECTS.
                   IF YOU ARE ENTERING INTO THESE TERMS OF
                   USE ON BEHALF OF A COMPANY OR OTHER
                   LEGAL ENTITY, YOU REPRESENT THAT YOU
                   HAVE THE AUTHORITY TO BIND SUCH ENTITY
                   AND ITS AFFILIATES TO THESE TERMS, IN
                   WHICH CASE THE TERMS "YOU" OR "YOUR"
                   SHALL REFER TO SUCH ENTITY AND ITS
                   AFFILIATES. IF YOU DO NOT AGREE WITH ALL
                   OF THE TERMS SET FORTH HEREIN, THEN YOU
                   ARE EXPRESSLY PROHIBITED FROM MAKING
                   ANY PURCHASE AND USING THE HARDWARE
                   AND SOFTWAREYOU MUST DISCONTINUE
                   ANY RESPECTIVE USE IMMEDIATELY.

                  The Hardware, Software and Portal is intended
                  for users who are at least eighteen (18) years old.
                  Persons under the age of eighteen (18), as well
                  any Disqualified Persons, are not permitted to
                  use the Hardware, Software or Portal.

                  You are not authorized to use the Hardware,
                  Software or Portal if there are applicable legal
                  restrictions in your country of residence that
                  would make the participation in Projects illegal.
                  It is your sole responsibility to ensure that your
                  use of the Hardware, Software, and/or Portal,
                   including with respect to any applicable Project,
                   is not prohibited, restricted, curtailed, hindered,
                   impaired or otherwise adversely affected in any
                   way by any applicable Law in your country of
                   residence or domicile. In addition, you are not
                   authorized to use the Hardware, Software or
                   Portal if you are:
                2. a citizen, domiciled in, resident of, or physically
                  present / located in Iran, North Korea, Cuba,
                  Syria, China, Afghanistan, Central African
                  Republic (the), Congo (the Democratic Republic
                  of the), Libya, Mali, Somalia, Sudan, and Yemen
                  (each an " Excluded Jurisdiction").
                 3. where you are a corporate body: (i) which is
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                    incorporated in, or operates out of, an Excluded
                    Jurisdiction, or (ii) which is under the control of
                    one or more individuals who is/are citizens of,
                    domiciled in, residents of, or physically present /
                    located in, an Excluded Jurisdiction;
                 4. an individual or body corporate: (i) included in
                    the consolidated list published by the United
                    Nations Security Council of individuals or
                    entities subject to measures imposed by the
                    United Nations Security Council accessible at
                    https://www.un.org/securitycouncil/content/un-
                    sc-consolidated-list; or (ii) included in the United
                    Nations Lists (UN Lists) or within the ambit of
                    regulations relating to or implementing United
                    Nations Security Council Resolutions listed by
                    MAS and accessible by
                    https://www.mas.gov.sg/regulation/anti-money-
                    laundering/targeted-financial-sanctions/lists-of-
                    designated-individuals-and-entities and
                    https://www.mas.gov.sg/regulation/anti-money-
                    laundering/targeted-financial-
                    sanctions/regulations-for-targeted-financial-
                    sanctions; or
                 5. an individual or corporate body who is otherwise
                    prohibited or ineligible in any way, whether in
                    full or in part, under any law applicable to such
                    individual or corporate body from participating
                    in any part of any Projects.

                  If you are not authorized to use the Hardware,
                  Software, or Portal under this Section 1, you are
                  deemed a " Disqualified Person" under these
                  Terms.

                6. Definitions. Any capitalized terms not
                  otherwise defined in these Terms shall have the
                  meaning set forth in the Website Terms and
                  Conditions

                    1. " Action" has the meaning set forth in
                       Section 12.1.
                    2. " Customer Data" means information, data,
                       and other content, in any form or medium,
                      that is collected, downloaded, or otherwise
                        received, directly or indirectly, from you by or
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                        through the Hardware, Software, and/or
                        Portal. Customer Data does not included
                        Resultant Data.
                     3. " Disputes" has the meaning set forth in
                        Section 15.
                     4. " Disqualified Person" has the meaning set
                        forth in Section 1 above.
                     5. " Documentation" means DEBT's end-user
                        documentation relating to the Hardware,
                        Software and/or Portal that DEBT provides
                        or makes available to you in any form or
                        medium which describes the functionality,
                        components, features, or requirements of
                        the Software, including any aspect of the
                        installation, configuration, integration,
                        operation, or use of the Hardware, Software
                        and/or Portal with any applicable Project.
                     6. " Excluded Jurisdictions" has the meaning
                        set forth in Section 1 above.
                     7. " Fees" has the meaning set forth in Section
                        3.3 below.
                     8. " Hardware" means the devices
                        manufactured by Raspberry Pi Ltd. "(
                        Raspberry Pi"), purchased by DEBT for
                        resale under Raspberry Pi's standard Terms
                        and Conditions of Sale found at
                        https://www.raspberrypi.com/terms-
                        conditions-sale/.
                     9. " Harmful Code"means any software,
                        hardware, or other technology, device, or
                        means, including any virus, worm, malware,
                        or other malicious computer code, the
                        purpose or effect of which is to (a) permit
                        unauthorized access to, or to destroy,
                        disrupt, disable, distort, or otherwise harm
                        or impede in any manner any (i) computer,
                        software, firmware, hardware, system, or
                        network; or (ii) any application or function of
                        any of the foregoing or the security,
                        integrity, confidentiality, or use of any data
                        processed thereby; or (b) prevent any
                        customer of DEBT from accessing or using
                        the Portal, Hardware, Software, or any
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                        Project as intended by these Terms.
                    10. " Indemnitee" has the meaning set forth in
                        Section 12.3.
                    11. " Indemnitor" has the meaning set forth in
                        Section 12.3.
                    12. " Intellectual Property Rights" means any
                        and all registered and unregistered rights
                        granted, applied for, or otherwise now or
                        hereafter in existence under or related to
                        any patent, copyright, trademark, trade
                        secret, database protection, or other
                        intellectual property rights Laws, and all
                        similar or equivalent rights or forms of
                        protection, in any part of the world.
                    13. " JAMS" has the meaning set forth in
                        Section 15.
                    14. "Law(s)" means any statute, law, ordinance,
                        regulation, rule, code, order, constitution,
                        treaty, common law, judgment, decree, or
                        other requirement of any federal, state, local,
                        or foreign government or political
                        subdivision thereof, or any arbitrator, court,
                        or tribunal of competent jurisdiction.
                    15. " Losses" means any and all losses,
                        damages, deficiencies, claims, actions,
                        judgments, settlements, interest, awards,
                        penalties, fines, costs, or expenses of
                        whatever kind, including reasonable
                        attorneys' fees and the costs of enforcing
                        any right to indemnification hereunder and
                        the cost of pursuing any insurance
                        providers.
                    16. "Maintenance Release(s)" means any
                        update, upgrade, release, or other
                        adaptation or modification of the Software,
                        including any updated Documentation,
                        that DEBT may provide to you from time to
                        time, which may contain, among other
                        things, error corrections, enhancements,
                        improvements, or other changes to the user
                        interface, functionality, compatibility,
                        capabilities, performance, efficiency, or
                        quality of the Software, but does not include
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                        any new version of the Software.
                    17. " Open Source Components" means any
                        software component that is subject to any
                        open source license agreement, including
                        any software available under the GNU Affero
                        General Public License (AGPL), GNU General
                        Public License (GPL), GNU Lesser General
                        Public License (LGPL), Mozilla Public
                        License (MPL), Apache License, BSD
                        licenses, or any other license that is
                        approved by the Open Source Initiative.
                    18. " Open Source Licenses" has the meaning
                        set forth in Section 4.2.
                    19. " Portal" has the meaning set forth in
                        Section 7.1.
                    20. " Projects" partner projects compatible
                        with the Software that are selectable by you
                        to participate through the purchase of a
                        license to such respective project, as
                        provided on the Website.
                    21. " Raspberry Pi" has the meaning set forth
                        in Section 2.7.
                    22. " Resultant Data" means data and
                        information related to your use of the
                        Hardware, Software and/or Portal that is
                        used by DEBT in an aggregate and/or
                        anonymized manner, including to compile
                        statistical and performance information
                        related to the provision and operation of the
                        Hardware, Software and/or Portal.
                    23. " Software" means the executable, object
                        code version of the software pre-loaded on
                        the Hardware, and any Maintenance
                        Releases provided to you pursuant to these
                        Terms and which allow up to the selection
                        of twenty (20) Projects to run on the
                        Hardware and generate Tokens.
                    24. " Terms" has the meaning set forth in
                        Section 14.
                    25. " Tokens" means the cryptocurrency
                        generated as a result of the participation in
                        any specific project utilizing the Software
                        and Hardware in accordance with these
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                        Terms.
                    26. " Warranty Period" has the meaning set
                        forth in Section 10.1 below.
                 7. Purchase Terms

                    1. Orders and Acceptance. You agree that any
                      order to purchase Hardware and any license
                      to Software and respective Projects are an
                      offer, under these Terms. All orders must be
                      accepted by us or we will not be obligated
                      to sell the Hardware or Software licenses to
                      you. We may choose not to accept orders at
                      our sole discretion, even after we send you a
                       confirmation email with your order number
                       and details of your order.
                    2. Purchase Restrictions. The following
                       purchase restrictions apply:
                        1. Hardware Purchase Restrictions .
                           Upon your initial purchase of the
                           Software license, you will receive the
                           necessary Hardware to run the Software
                          at no additional charge. This right to
                          free Hardware with the purchase of
                          Software is limited to your first purchase
                          only at a limit of one per customer. Any
                          additional Hardware desired by you or
                          otherwise required to run additional
                          Projects licensed with the Software
                          must be purchased at the then current
                          Fee price (as further provided in Section
                          3.3 below). You may not obtain any
                          additional Hardware for free under any
                          circumstances. You agree that you will
                          not create any secondary accounts, or
                          use other third parties as a proxy to
                           obtain any additional free Hardware.
                        2. Software and Underlying Project
                           License Purchase Restrictions . The
                          price of the Software license is
                          dependent upon the number of
                          Projects you select and purchase a
                          license to. Each Hardware device with
                          the Software can run up to twenty (20)
                            Projects. Please refer to Section 3.3 for
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                            more information about Fees and how
                            to determine the current Fee price of
                            any respective Project. If you purchase
                            more than twenty (20) Projects, you will
                            need to purchase additional Hardware
                            as necessary to support the additional
                            Projects exceeding the allotted twenty
                            (20) Projects per device.
                     3. Payment Terms. We accept payment for
                        Hardware, Software and Project Licenses
                        using the following Methods:
                         1. Cryptocurrency Payment – You may
                            make payments using cryptocurrencies
                            through our third-party payment
                            processor CoinPayments. The
                            cryptocurrencies accepted by
                            CoinPayments are not controlled by the
                            DEBT Box or DLI. Payment of accepted
                            cryptocurrencies will be at the rates
                            equivalent to the comparative U.S.
                            Dollar value of such cryptocurrency at
                            the time of the purchase.
                         2. Credit Card Payment – Payment using
                            a credit card through our third-party
                            payment processor Signature Bank.
                            DEBT does not control which credit
                            cards are accepted by Signature Bank.
                   You represent and warrant that (a) the payment
                   information (including any related digital wallet
                   information for cryptocurrency transactions or
                   credit card numbers you supply to us are true,
                   correct and complete, (b) you are duly
                   authorized to use such payment information to
                   make a purchase, (c) where applicable, charges
                   incurred by you will be honored by your credit
                   card company, and (d) you will pay charges
                   incurred by you at the posted Fee prices,
                   including shipping and handling charges and
                   all applicable taxes, if any, incurred at the time of
                   your order. The information collected by third-
                   party payment processors, including Bitpay and
                   Signature Bank, are subject to their respective
                   terms and conditions and privacy policy. DEBT is
                    not responsible for the actions of any third-party
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                    payment processor.
                 8. Licenses; Security Measures Intellectual
                    Property Rights

                    1. License Grant. Subject to and conditioned
                       on your payment of the applicable Fees
                       with respect to the Hardware, Software and
                      applicable Projects, and further conditioned
                      upon the compliance with these Terms,
                      DEBT hereby grants to you a non-exclusive,
                      non-sublicensable, and non-transferable
                      license to use the Software and
                      Documentation to run the applicable
                      Projects you selected and paid Fees to
                      participate in, on the purchased Hardware
                      and solely in accordance with the
                      requirements set forth in the
                       Documentation.
                    2. Open Source Licenses. The Software
                       includes Open Source Components
                       licensed for use with the Software. Any use
                      of the Open Source Components by you is
                      governed by, and subject to, the terms and
                      conditions of the applicable open source
                       license(s).
                    3. Security Measures. The Hardware, Software,
                       and Portal may contain technological
                       measures designed to prevent
                      unauthorized or illegal use. You
                      acknowledges and agrees that DEBT may
                      use these technological measures and
                      other lawful measures to verify your
                      compliance with these Terms and enforce
                      DEBT's rights, including all Intellectual
                      Property Rights, in and to the Software and
                       Portal.
                    4. License and Use Restrictions for the Portal
                       and Software. Except as these Terms
                      expressly permits, and subject to Section 4.2
                      with respect to Open Source Components,
                      you shall not:
                9. copy the Software or Portal, in whole or in part;
                10. modify, correct, adapt, translate, enhance, or
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                    otherwise prepare derivative works or
                    improvements of any Software or Portal;
                11. rent, lease, lend, sell, sublicense, assign,
                    distribute, publish, transfer, or otherwise make
                    available the Software or Portal to any third
                    party;
                12. reverse engineer, disassemble, decompile,
                    decode, or adapt the Software or Portal, or
                    otherwise attempt to derive or gain access to
                    the source code of the Software or Portal, in
                    whole or in part;
                13. bypass or breach any security device or
                    protection used for or contained in the Software,
                    Portal, or Documentation;
                14. remove, delete, efface, alter, obscure, translate,
                    combine, supplement, or otherwise change any
                    trademarks, terms of the Documentation,
                    warranties, disclaimers, or Intellectual Property
                    Rights, proprietary rights or other symbols,
                    notices, marks, or serial numbers on or relating
                    to any copy of the Software, Portal, or
                    Documentation;
                15. use the Software or Portal in any manner or for
                    any purpose that infringes, misappropriates, or
                    otherwise violates any Intellectual Property
                    Right or other right of any person, or that
                    violates any applicable Law;
                16. use the Software or Portal for purposes of: (i)
                    benchmarking or competitive analysis of the
                    Software or Portal; (ii) developing, using, or
                    providing a competing software product or
                    service; or (iii) any other purpose that is to
                    DEBT's detriment or commercial disadvantage;
                    and
                17. use the Software, Portal, or Documentation in
                    any manner or for any purpose or application
                    not expressly permitted under these Terms.

                    1. Intellectual Property Rights. You
                       acknowledge that:
               18. the Software, rights to use the Portal, and
                   Documentation are licensed, not sold, to you by
                   DEBT and you do not have under or in
                    connection with these Terms any ownership
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                    interest in or to the Software or Documentation,
                    or in any related Intellectual Property Rights
                    therein.
                19. DEBT and its applicable licensors are the sole
                    and exclusive owners of all right, title, and
                    interest in and to the Software, Portal, and
                    Documentation, including all Intellectual
                    Property Rights relating thereto, subject only to
                    the rights of third parties in Open Source
                    Components and the limited license granted to
                    you under these Term; and
                20. you hereby unconditionally and irrevocably
                    assign to DEBT or DEBT's designee, your entire
                    right, title, and interest in and to any Intellectual
                    Property Rights that you may now or hereafter
                    have in or relating to the Software,
                    Documentation, and Resultant Data (including
                    any rights in derivative works or patent
                    improvements), whether held or acquired by
                    operation of Law, contract, assignment or
                    otherwise.

                    1. No Implied Rights. Except for the limited
                      rights and licenses expressly granted under
                      these Terms, nothing in these Terms grants,
                      by implication, waiver, estoppel or
                      otherwise, to you or any third party, any
                      Intellectual Property Rights or other right,
                      title, or interest in or to any of the Software,
                      Portal, or Documentation.
               21. Maintenance Releases. During the Warranty
                   Period, and at DEBT's sole discretion following
                   the Warranty Period, DEBT will provide you with
                   all Maintenance Releases (including updated
                   Documentation) that we may, in our sole
                   discretion, make generally available to its
                   licensees at no additional charge. All
                  Maintenance Releases provided by DEBT to you
                  are deemed Software. You will install all
                  Maintenance Releases as soon as practicable
                  after receipt. You do not have any right
                  hereunder to receive any new versions of the
                    Software that DEBT may, in its sole discretion,
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                    release from time to time.
                22. Digital Wallet. The digital wallet used in the
                    Software is an Open-Source Component. Such
                    digital wallet has a public key and a private key.
                    You will be provided the private key and will
                    alone have access to such private key. DEBT
                    does not store your private key in any reasonably
                    accessible manner and cannot help you retrieve
                    your private key if you lose such private key. You
                    have the sole responsibility to maintain, in your
                    fully secure possession, the credentials for
                    accessing your digital wallet, including the
                    private key for your digital wallet.
                23. DEBT Portal.
                      1. Portal. Use of theHardware and
                         participation in any Projects further requires
                         the creation and maintenance of an
                         account for our DEBT dashboard to keep
                         track of respective Projects licensed, the
                         performance of Projects, and other related
                         information associated with your use of the
                         Hardware and Software (such dashboard
                         herein referred to as the " Portal"). DEBT
                         hereby grants you a non-exclusive, non-
                         transferable right to access and use the
                         Portal during the Term in accordance with
                         the terms and conditions herein. Such use is
                         limited to your internal use with your
                         Hardware, Software and applicable Projects.
                      2. Changes to the Portal. DEBT reserves the
                         right, in its sole discretion, to make any
                         changes to the Portal that it deems
                         necessary or useful to: (a) maintain or
                         enhance: (i) the quality or delivery of the
                         Portal and its related services to its
                         customers; or (ii) the Portal's cost efficiency
                         or performance; or (b) to comply with
                         applicable Law.
                      3. Portal Use Restrictions. Use restrictions of
                         the Portal are set forth ins Section 4.4 above.
                      4. Portal Account. To make use of any
                         purchased license, you will need to create
                         an account, including providing a verifiable
                        email address and creating a unique
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                        password. You are responsible for your
                        account activity, including unauthorized
                        activity. You must safeguard the
                        confidentiality of your account credentials,
                        including your username and password. If
                        you become aware of unauthorized access
                        to your account, you must change your
                        password and notify us immediately.
                     5. Customer Data. The Portal, connected
                        through your established account and
                        connected Hardware, Software and
                        associated Projects, will process Customer
                        Data. As between you and DEBT, you are
                        and will remain the sole and exclusive
                        owner of all right, title, and interest in and to
                        all Customer Data, including all Intellectual
                        Property Rights relating thereto, subject to
                        the rights and permissions granted herein.
                        You represent, warrant, and covenant to
                        DEBT that you own or otherwise have and
                        will have the necessary rights and consents
                        in and relating to the Customer Data so
                        that, as received by DEBT and processed in
                        accordance with these Terms, they do not
                        and will not infringe, misappropriate, or
                        otherwise violate any Intellectual Property
                        Rights, or any privacy or other rights of any
                        third party or violate any applicable Law. You
                        hereby irrevocably grant all such rights and
                        permissions in or relating to Customer Data
                        as necessary or useful to DEBT to enforce
                        these Terms and exercise DEBT's rights and
                        perform DEBT's obligations hereunder. Any
                        Customer Data collected or otherwise
                        processed by DEBT will be processed in
                        accordance with DEBT's privacy policy
                        thedebtbox.com/privacy.
                24. Shipment; Title and Risk of Loss
                     1. Shipment. We will arrange for shipment of
                        the products to you. You will pay all
                        shipping and handling charges specified
                        during the ordering process. Shipping and
                        handling charges are reimbursements for
                         the costs we incur in the processing,
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                         handling, packing, shipping, and delivery of
                         your order.
                      2. Title and Risk of Loss. Title and risk of loss
                         passes to you upon our transfer of the
                         products to the shipping carrier. Shipping
                         and delivery dates are estimates only and
                         cannot be guaranteed. We are not liable for
                         any delays in shipments.
                25. No Returns or Refunds.The Fees paid with
                    respect to the Hardware, Software, and any
                    applicable Projects are non-refundable, and we
                    do not accept any returns of Hardware for any
                    reason, except as otherwise may be required
                    under applicable Law.
                26. Limited Hardware Warranty; Disclaimers.

                    1. Limited Hardware Warranty. DEBT warrants
                       to you that, for a period of twelve (12)
                      months from the date of shipment of the
                      Hardware (" Warranty Period"), such
                      Hardware shall be free from material
                      defects in material and workmanship. Our
                      responsibility for defective Hardware is
                      limited to repair or replacement as
                      described in Section 10.2 below.
                    2. Limited Hardware Warranty Remedy. With
                       respect to any defective Hardware during
                       the Warranty Period, we will, in our sole
                       discretion, either repair or replace such
                       Hardware (or the defective part) free of
                       charge. We will also pay for shipping and
                       handling fees to return the repaired or
                      replaced Hardware to you. To obtain
                      warranty service, you must email our
                      customer service department at
                      support@thedebtbox.com during the
                      Warranty Period. The remedies described
                      above are your sole and exclusive remedies
                      and our entire liability for any breach of the
                       limited warranty provided in Section 10.1
                       above.
                    3. Disclaimer Warranties. EXCEPT AS
                       EXPRESSLY SET FORTH IN SECTION 10.1
                        ABOVE, ALL HARDWARE AND SOFTWARE
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                        OFFERED ON THE WEBSITE, INCLUDING
                        THE PORTAL ARE PROVIDED "AS IS"
                        WITHOUT ANY WARRANTY WHATSOEVER,
                        INCLUDING, WITHOUT LIMITATION, ANY (A)
                        WARRANTY OF MERCHANTABILITY; (B)
                        WARRANTY OF FITNESS FOR A
                        PARTICULAR PURPOSE; OR (C) WARRANTY
                        AGAINST INFRINGEMENT OF
                        INTELLECTUAL PROPERTY RIGHTS OF A
                        THIRD PARTY; WHETHER EXPRESS OR
                        IMPLIED BY LAW, COURSE OF DEALING,
                        COURSE OF PERFORMANCE, USAGE OF
                        TRADE, OR OTHERWISE. SOME
                        JURISDICTIONS LIMIT OR DO NOT ALLOW
                        THE DISCLAIMER OF IMPLIED OR OTHER
                        WARRANTIES, IN WHICH CASE, THE
                        DISCLAIMER IN THIS SECTION 10.3 MAY
                        NOT APPLY TO YOU. DEBT SHALL NOT BE
                        LIABLE OR OTHERWISE RESPONSIBLE
                        FOR ANY DATA LOSS RELATING TO ANY
                        CUSTOMER DATA, AND SHALL HAVE NO
                        OBLIGATION TO BACK-UP ANY SUCH
                        CUSTOMER DATA.
                     4. PROJECT DISCLAIMER. DEBT IS NOT
                        AFFILIATED WITH, NOR DOES IT
                        RECOMMEND ANY SPECIFIC PROJECT
                        FOR YOU TO CHOOSE TO PARTICIPATE IN
                        USING THE SOFTWARE. DEBT SOFTWARE
                        ALLOWS YOU TO ACT AS A NODE FOR ANY
                        OF YOUR CHOSEN PROJECTS, BUT THE
                        SUCCESS OF ANY SUCH PROJECT,
                        UNDERLYING TRANSACTIONS, AND
                        TOKENS GENERATED IS NOT
                        CONTROLLED IN ANY WAY BY DEBT. YOU
                        AGREE THAT DEBT SHALL NOT HAVE ANY
                        RESPONSIBILITY OR LIABILITY FOR,
                        ARISING OUT OF, RELATING TO,
                        ASSOCIATED WITH OR RESULTING FROM
                        YOUR PARTICIPATION IN ANY PROJECT.
                        YOU BEAR FULL RESPONSIBILITY FOR
                        VERIFYING THE LEGITIMACY AND
                        AUTHENTICITY PROJECTS YOU
                        PARTICIPATE IN USING THE SOFTWARE.
                      5. DIGITAL WALLET DISCLAIMER. DEBT HAS
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                         NO CONTROL OVER YOUR DIGITAL
                         WALLET AND CANNOT GUARANTEE THE
                         SECURITY OF ANY SUCH DIGITAL WALLET.
                         CONTINUED STORAGE OF ANY TOKENS
                         OR OTHER DIGITAL ASSETS ON THE
                         DIGITAL WALLET PROVIDED WITH THE
                         HARDWARE OR ANY OTHER DIGITAL
                         WALLET YOU MAY TRANSFER TOKENS OR
                         DIGITAL ASSETS TO, IS DONE SO AT YOUR
                         OWN RISK. IN THE EVENT OF ANY LOSS,
                         HACK OR THEFT OF ANY TOKENS OR
                         OTHER DIGITAL ASSETS FROM YOUR
                         DIGITAL WALLET, YOU ACKNOWLEDGE
                         AND AGREE THAT YOU SHALL HAVE NO
                         RIGHT(S), CLAIM(S) OR CAUSES OF ACTION
                         IN ANY WAY WHATSOEVER AGAINST DEBT
                         FOR SUCH LOSS, HACK OR THEFT OF ANY
                         SUCH DIGITAL ASSET.
                      6. Inherent Risk of Cryptographic Systems. You
                         hereby acknowledge and assume the risk of
                         using the Hardware and Software with
                         respect to Projects and the inherent risks of
                         blockchain technologies and mining
                         tokens, including:
                27. Many market, technological and legal forces
                    are outside the exclusive control of
                    Management Company. Cryptocurrencies
                    such as Tokens, blockchain technology, and
                    other associated and related technologies are
                    not exclusively controlled by DEBT and adverse
                    changes in market forces, including but not
                    limited to, amendments to regulatory or
                    intellectual property law, technological
                    advancements, decreases in token or
                    cryptocurrency or cryptographic token utility,
                    social or economic reforms, the failure of
                    commercial relationships, or the malfunction,
                    breakdown or abandonment of the
                    cryptocurrency protocols may affect the
                    performance of any Project.

               28. The application of blockchain technology is
                   novel and untested and may contain
                    inherent flaws or limitations. Blockchain is an
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                    emerging technology that offers new
                    capabilities which are not fully proven in use.
                    Risks associated with the blockchain technology
                    could affect the performance of any Project,
                    including the market for blockchain assets
                    generally.
                29. The success of any respective Project
                    requires interest from a large number of
                    validators and/or other network
                    participants. The success of any applicable
                    Project relies on a significant number of parties
                    willing to act as validators and/or miners,
                    supporters or other participants of the network.
                    There is no guarantee however, that a sufficient
                    number of individuals will continue participate
                    in any respective Project. No one is contractually
                    or legally obligated to continue to participate in
                    any applicable Project and may cease
                    participation if they determine that such
                    participation is no longer profitable, if they are
                    prevented from doing so by government or
                    regulatory agencies, or for any other reason. If
                    participants cease to continue supporting the a
                    respective Project, such Project may be unable
                    to function and the value of underlying Tokens
                    may decline or decrease to zero.
                30. Tokens are not insured. Tokens are not insured
                    by any governmental or regulatory entity. In the
                    event of loss, or the loss of the utility value of
                    Tokens, you will have no recourse (and shall
                    never have recourse against DEBT in
                    accordance with these Terms) unless you have
                    obtained private insurance for such respective
                    Tokens.
                31. There is no guarantee that any Tokens will
                    hold value or increase in value. Tokens and
                    other cryptocurrencies are highly speculative,
                    and any increase in value of respective Tokens is
                    contingent upon numerous circumstances,
                    many of which (including legal and regulatory
                    conditions) are beyond DEBT's control. There is
                    no assurance that any Token will increase in
                    value, or that applicable Tokens will have any
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                    value or liquidity when you acquire them.
                32. The tax treatment of the tokens is uncertain
                    and there may be adverse tax
                    consequences. The tax characterization of
                    Tokens is uncertain, and holding Tokens may
                    result in adverse tax consequences.
                33. Regulatory Uncertainty. The regulatory
                    regime governing blockchain technologies,
                    cryptocurrency, and other crypto-based items is
                    uncertain, and new regulations or policies may
                    materially adversely affect the value of any
                    Project and/or Tokens generated using the
                    Hardware and Software.
                34. Distributed Ledger Technology risk. There are
                    risks associated with using Internet and
                    distributed-ledger or other blockchain based
                    products, including, but not limited to, the risk
                    associated with hardware, software, and Internet
                    connections, the risk of malicious software
                    introduction, and the risk that third parties may
                    obtain unauthorized access to your digital wallet
                    or account.
                35. Third-Party Services. We do not control third-
                    party services or products like the underlying
                    blockchains that the respective Projects run on,
                    the digital wallets, or other third-party products
                    that you may be interacting with that may be
                    integral to your ability to participate in Projects
                    and generate and store Tokens. Such third
                    parties may experience system outages or other
                    technological events that disrupt your ability to
                    participate in a respective Project during such
                    disruption.

                    1. No Investment Advice. DEBT is acting solely
                       as a technology services provider and does
                       not provide any investment, tax or other
                       advisor services regarding Tokens, Projects,
                       or otherwise.
                    2. Applicable Law. The use of the Hardware
                       and Software to participate in applicable
                       Projects are subject to all applicable Laws.
                       DEBT reserves the right to make changes to
                        its policies, operational guides, procedures,
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                        and protocols, including any changes to
                        Documentation and/or Software, as
                        necessary to comply with Law.
                36. Limitation of Liability. IN NO EVENT SHALL
                    WE BE LIABLE TO YOU OR ANY THIRD PARTY
                    FOR CONSEQUENTIAL, INDIRECT, INCIDENTAL,
                    SPECIAL, EXEMPLARY, PUNITIVE OR
                    ENHANCED DAMAGES, LOST PROFITS OR
                    REVENUES OR DIMINUTION IN VALUE,
                    ARISING OUT OF, OR RELATING TO, AND/OR IN
                    CONNECTION WITH ANY BREACH OF THESE
                    TERMS, REGARDLESS OF (A) WHETHER SUCH
                    DAMAGES WERE FORESEEABLE, (B)
                    WHETHER OR NOT WE WERE ADVISED OF
                    THE POSSIBILITY OF SUCH DAMAGES AND (C)
                    THE LEGAL OR EQUITABLE THEORY
                    (CONTRACT, TORT OR OTHERWISE) UPON
                    WHICH THE CLAIM IS BASED. OUR SOLE AND
                    ENTIRE MAXIMUM LIABILITY AND YOUR SOLE
                    AND EXCLUSIVE REMEDY FOR ANY CAUSE
                    WHATSOEVER, SHALL BE LIMITED TO THE
                    ACTUAL AMOUNT PAID BY YOU FOR THE
                    PRODUCTS AND SERVICES YOU HAVE
                    ORDERED THROUGH OUR WEBSITE.
                37. Indemnification

                    1. DEBT Indemnification of You. DEBT shall
                       indemnify, defend, and hold you harmless
                       from and against any and all Losses
                       incurred by you resulting from any claim,
                       action, cause of action, demand, lawsuit,
                      arbitration, inquiry, audit, proceeding,
                      litigation, citation, summons, subpoena, or
                      investigation of any nature, civil, criminal,
                      administrative, regulatory, or other, whether
                      at law, in equity, or otherwise, (" Action") by
                      a third party that the Software or
                      Documentation, or any use of the Software
                      or Documentation in accordance with
                      these Terms, infringes or misappropriates
                      such third party's US Intellectual Property
                      Rights. This Section 12.1 does not apply to
                         the extent that the alleged infringement
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                         arises from:
                38. combination, operation, or use of the Software
                    in or with, any technology (including any
                    software, hardware, firmware, system, or
                    network) or service not provided by DEBT or
                    specified for your use in the Documentation;

               39. modification of the Software other than: (a) by
                   DEBT in connection with these Terms; or (b)
                   with DEBT's express written authorization and in
                   strict accordance with DEBT's written directions
                   and specifications;
               40. use of any version of the Software other than the
                   most current version or failure to timely
                   implement any Maintenance Release,
                   modification, update, or replacement of the
                   Software made available to you by DEBT;
               41. use of the Software after DEBT's notice to you of
                   such activity's alleged or actual infringement,
                   misappropriation, or other violation of a third
                   party's rights;
               42. negligence, abuse, misapplication, or misuse of
                   the Hardware, the Software or Documentation
                   by or on behalf of you, your representatives, or a
                   third party;
               43. use of the Hardware, Software or
                   Documentation by or on behalf of you that is
                   outside the purpose, scope, or manner of use
                   authorized by these Terms or in any manner
                   contrary to DEBT's instructions;
               44. events or circumstances outside of DEBT's
                   commercially reasonable control (including any
                   third-party hardware, software, or system bugs,
                   defects, or malfunctions); or
               45. third-party claims or Losses for which you are
                   obligated to indemnify DEBT pursuant to
                  Section 12.2 .

                    1. Your Indemnification of DEBT. You agree
                       that you shall indemnify, defend, and hold
                       harmless DEBT and its affiliates, and each of
                       its and their respective officers, directors,
                       employees, agents, subcontractors,
                         successors and assigns from and against
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                         any and all Losses incurred by you resulting
                         from any Action by a third party:
                46. that any Intellectual Property Rights is or will be
                    infringed, misappropriated, or otherwise
                    violated by any use or combination of the
                    Software and/or Portal by you with any
                    hardware, software, system, network, service, or
                    other matter whatsoever that is neither
                    provided by DEBT nor authorized by DEBT
                    under these Terms and the Documentation;
                    and

               47. relating to facts that, if true, would constitute a
                   breach by you of any representation, warranty,
                   covenant, or obligation under these Terms;
               48. relating to your negligence, abuse,
                   misapplication, misuse or more culpable act or
                   omission (including recklessness or willful
                   misconduct) with respect to the Software,
                   Portal, or Documentation or otherwise in
                   connection with these Terms; or
               49. relating to your use of the Software or Portal
                   that is outside the purpose, scope or manner of
                   use authorized by these Terms or the
                   Documentation, or in any manner contrary to
                   DEBT's instructions.

                     1. Indemnification Procedures. Each party
                       shall promptly notify the other party in
                       writing of any Action for which such party
                       believes it is entitled to be indemnified
                       pursuant to Section 12.1 or Section 12.2. The
                       party seeking indemnification (the "
                       Indemnitee") shall cooperate with the other
                       party (the " Indemnitor") at the
                       Indemnitor's sole cost and expense. The
                       Indemnitor shall promptly assume control
                       of the defense and investigation of such
                       Action and shall employ counsel of its
                       choice to handle and defend the same, at
                       the Indemnitor's sole cost and expense. The
                       Indemnitee may participate in and observe
                       the proceedings at its own cost and
                         expense with counsel of its own choosing.
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                         The Indemnitor shall not settle any Action
                         on any terms or in any manner that
                         adversely affects the rights of any
                         Indemnitee without the Indemnitee's prior
                         written consent, which shall not be
                         unreasonably withheld or delayed. The
                         Indemnitee's failure to perform any
                         obligations under this Section 12.3 will not
                         relieve the Indemnitor of its obligations
                         under this Section 12, except to the extent
                         that the Indemnitor can demonstrate that it
                         has been materially prejudiced as a result of
                         such failure.
                50. Goods Not for Resale or Export. You represent
                    and warrant that you are buying the Hardware
                    and respective Software and Project licenses
                    from the Website for your own personal or
                    household use only, and not for resale or export.
                    You further represent and warrant that all
                    purchases are intended for final delivery to
                    locations outside the Excluded Jurisdictions and
                    will not be provided to any Disqualified Person.
                51. Term. This agreement shall commence on the
                    day you accept these terms and shall continue
                    for so long as you use the Hardware and/or
                    Software (the " Term").
                52. Dispute Resolution. PLEASE READ THIS
                    SECTION CAREFULLY BECAUSE IT IS AN
                    AGREEMENT TO ARBITRATE DISPUTES AND
                    LIMITS THE MANNER IN WHICH YOU CAN
                    SEEK RELIEF.

                  In consideration for our provision of the
                  Hardware, Portal, and Software to you, you and
                  DEBT each agree that any and all disputes or
                  claims arising under, out of, in connection with,
                  or related to your use of the Hardware, Portal,
                  Software, or these Terms in any fashion, or the
                  subject matter, negotiation, performance,
                  termination, interpretation, or formation of the
                  agreement resulting from your acceptance of
                  these Terms, (a " Dispute") must be resolved
                  exclusively in binding arbitration. However, a
                   party may assert a claim in small claims court, if
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                   the asserted claim qualifies and so long as the
                   matter remains in such court and advances only
                   on an individual (non-class, non-representative)
                   basis. These Terms, including the right to
                   Arbitrate, is intended to be broadly interpreted
                   and the Federal Arbitration Act governs the
                   enforcement of these Terms to arbitrate.

                  For any Dispute with DEBT, you agree first to
                  contact us at support@thedebtbox.com and
                  attempt to resolve the Dispute with us
                  informally. In the event that we do not resolve a
                  Dispute informally, we each agree to resolve any
                  Dispute (excluding any claims for injunctive or
                  other equitable relief) arising out of or in
                  connection with or relating to these Terms, or
                  the breach or alleged breach thereof, by binding
                  arbitration by the Judicial Arbitration and
                  Mediation Services (" JAMS") pursuant to its
                  Comprehensive Arbitration Rules and
                  Procedures and shall be conducted in
                  Wyoming, unless otherwise agreed to in writing
                  by the parties. Each party will be responsible for
                  paying any JAMS filing, administrative and
                  arbitrator fees in accordance with JAMS rules.
                  The award rendered by the arbitrator shall
                  include costs of arbitration, reasonable
                  attorneys' fees and reasonable costs for expert
                  and other witnesses, and any judgment on the
                  award rendered by the arbitrator may be
                  entered in any court of competent jurisdiction.
                  Nothing in this Section shall prevent either
                  party from seeking injunctive or other equitable
                  relief from the courts as necessary to prevent
                  the actual or threatened infringement,
                  misappropriation, or violation of that party's
                  data security, intellectual property rights, or
                  other proprietary rights.

                  No Class Action; No Jury Trial.ALL CLAIMS MUST
                  BE BROUGHT IN THE PARTIES' INDIVIDUAL
                  CAPACITY, AND NO CLASS ACTION OR
                  REPRESENTATIVE OR PRIVATE ATTORNEY
                    GENERAL THEORIES OF LIABILITY OR
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                    PRAYERS FOR RELIEF MAY BE MAINTAINED IN
                    ANY ARBITRATION OR OTHER PROCEEDING
                    UNDER THESE TERMS. UNLESS WE AGREE
                    OTHERWISE, THE ARBITRATOR MAY NOT
                    CONSOLIDATE MORE THAN ONE PERSON'S
                    CLAIMS. YOU AGREE THAT, BY ENTERING INTO
                    THESE TERMS, YOU AND WE ARE EACH
                    WAIVING THE RIGHT TO A TRIAL BY JURY OR
                    TO PARTICIPATE IN A CLASS ACTION.
                53. Miscellaneous
                     1. Severability. Every provision of these Terms
                        will be construed, to the extent possible, so
                        as to be valid and enforceable. If any
                        provision of these Terms is construed or
                        held by a court of competent jurisdiction to
                        be invalid, illegal or otherwise
                        unenforceable, such provision will be
                        deemed severed from these Terms, and all
                        other provisions will remain in full force and
                        effect.
                     2. Governing Law.These Terms and any
                        dispute arising out of these Terms, shall be
                        governed by and construed in accordance
                        with the laws of the State of Wyoming,
                        without giving effect to any choice or
                        conflict of law provision or rule (whether of
                        the State of Wyoming or any other
                        jurisdiction) that would cause the
                        application of the laws of any jurisdiction
                        other than those of the State of Wyoming.
                     3. Entire Agreement. These Terms, together
                        with the Terms of Use, our Privacy Policy,
                        and any amendments and any additional
                        agreements you may enter with us in
                        connection with the use of the Website,
                        Hardware, Software, or Portal, constitute the
                        entire agreement between you and us.
                     4. Waiver. Our failure at any time to enforce
                        any of the provisions of these Terms or any
                        right or remedy available hereunder or at
                        law or in equity, or to exercise any option
                        herein provided, will not constitute a waiver
                        of such provision, right, remedy or option or
                        in any way affect the validity of these Terms.
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                        Our waiver of any default will not be
                        deemed a continuing waiver, but will apply
                        solely to the instance to which such waiver
                        is directed.
                     5. Headings; Summaries. The section
                        headings and any plain English summaries
                        appearing in these Terms are inserted only
                        as a matter of convenience and in no way
                        define, limit, construe or describe the scope
                        or extent of such section or in any way affect
                        such section.
                     6. No Assignment. These Terms, and any
                        rights and licenses granted hereunder, may
                        not be transferred or assigned by you, but
                        may be assigned by us without restriction.
                        Any attempted transfer or assignment in
                        violation hereof shall be null and void.
                     7. No Third-Party Beneficiaries. Other than as
                        expressly provided in these Terms, no third-
                        party beneficiaries are intended or will be
                        construed as created by these Terms.
                     8. Survival. All Sections which by their nature
                        should survive the termination of these
                        Terms shall continue in full force and effect,
                        notwithstanding any termination of these
                        Terms.
                     9. Notices; Electronic Communications. DEBT
                        may provide notifications, whether such
                        notifications are required by law or are for
                        marketing or other business-related
                        purposes through posting of such notice on
                        the Website. You agree that all agreements,
                        notices, disclosures, and other
                        communication we provide to you via the
                        Website to satisfy any legal requirement
                        that such communications be in writing.
                        We reserve the right to determine the form
                        and means of providing notification to our
                        users.
                                       Token
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                                 Projects
                             Specifications
                           Privacy Policy
                        Terms and Conditions
                               Store




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                      Exhibit 29
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              Last Modified: June 12, 2023

              These D.E.B.T. Purchase and License Terms of Sale ("Terms") are entered
              into by and between you ("you" and "your") and Digital Commodity House,
              FZCO and its affiliates, (collectively "D.E.B.T.", "we," "our" or "us"), and govern
              (1) the purchase and use of our hardware and software, and services
              purchased from us or through an authorized reseller, and (2) the use of our
              Portal and services (collectively, the "Services.")

              PLEASE READ THESE TERMS CAREFULLY THEY INCLUDE AN
              ARBITRATION PROVISION REQUIRING INDIVIDUAL ARBITRATION OF
              DISPUTES INSTEAD OF JURY TRIALS OR CLASS ACTIONS. By submitting
              your order or accepting or using products offered through the Website,
              you acknowledge that you agree to these Terms in their entirety as further
              provided in Section 1 below.


              1. Acceptance
              BY CLICKING THE "I ACCEPT" BUTTON OR SIMILAR ATTESTATION WHEN
              SUCH OPTION IS MADE AVAILABLE TO YOU WHEN MAKING ANY
              PURCHASE, REGISTERING FOR THE PORTAL, OR USING THE SERVICES,
              YOU ACCEPT AND AGREE TO BE BOUND BY THESE TERMS OF USE
              EFFECTIVE AS OF THE DATE OF SUCH ACTION. YOU EXPRESSLY
              ACKNOWLEDGE AND REPRESENT THAT YOU HAVE CAREFULLY
              REVIEWED THESE TERMS AND CONDITIONS AND FULLY UNDERSTAND
              THE RISKS, COSTS, AND BENEFITS RELATED TO THE HARDWARE,
              SOFTWARE, SERVICES, AND ANY APPLICABLE PROJECTS ASSOCIATED
              WITH A PROJECT MINING LICENSE. IF YOU ARE ENTERING INTO THESE
              TERMS OF USE ON BEHALF OF A COMPANY OR OTHER LEGAL ENTITY,
              YOU REPRESENT THAT YOU HAVE THE AUTHORITY TO BIND SUCH
              ENTITY AND ITS AFFILIATES TO THESE TERMS, IN WHICH CASE THE
              TERMS "YOU" OR "YOUR" SHALL REFER TO SUCH ENTITY AND ITS
              AFFILIATES. IF YOU DO NOT AGREE WITH ALL OF THE TERMS SET FORTH
              HEREIN, THEN YOU ARE EXPRESSLY PROHIBITED FROM (1) MAKING ANY
              PURCHASE, (2) USING THE HARDWARE AND SOFTWARE, AND (3) USING
              AND ACCESSING THE SERVICES.YOU MUST DISCONTINUE ANY
              RESPECTIVE USE IMMEDIATELY.

              The Hardware, Software and Services are intended for users who are at
              least eighteen (18) years old. Persons under the age of eighteen (18), as well
              as any Disqualified Persons, are not permitted to use the Hardware,
              Software or Service.

              You are not authorized to use the Hardware, Software or Services if there
              are applicable legal restrictions in your country of residence that would
              make the (1) operation of the Hardware or Software illegal, or (2) the access
              and/or use of the Services illegal. It is your sole responsibility to ensure that
              your use of the Hardware, Software, and/or Services, is not prohibited,
              restricted, curtailed, hindered, impaired or otherwise adversely affected in
              any way by any applicable Law in your country of residence or domicile. In
              addition, you are not authorized to use the Hardware, Software or Services
              if you are:

                  1. a citizen, domiciled in, resident of, or physically present / located in
                    Afghanistan, the Balkan Region, Belarus, Burma, Cuba, Democratic Republic
                    of Congo, lran, lraq, North Korea, Sudan and South Sudan, Syria, Zimbabwe,
                        Central African Republic, Lebanon, Mali, Nicaragua, Somalia, Venezuela,
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                   Yemen, Document        125-3
                          Russia, or the Crimea,    Filed
                                                 Donetsk, and09/01/23      PageID.2140
                                                              Luhansk regions (each an Page 95 of 119
                        "Excluded Jurisdiction").
                      2. where you are a corporate body: (i) which is incorporated in, or operates out
                        of, an Excluded Jurisdiction, or (ii) which is under the control of one or more
                        individuals who is/are citizens of, domiciled in, residents of, or physically
                        present / located in, an Excluded Jurisdiction;
                      3. an individual or corporate body: (i) included in the consolidated list
                        published by the United Nations Security Council of individuals or entities
                        subject to measures imposed by the United Nations Security Council
                        accessible at https://www.un.org/securitycouncil/content/un-sc-
                        consolidated-list; or (ii) included in the United Nations Lists (UN Lists) or
                        within the ambit of regulations relating to or implementing United Nations
                        Security Council Resolutions listed by MAS and accessible by
                        https://www.mas.gov.sg/regulation/anti-money-laundering/targeted-
                        financial-sanctions/lists-of-designated-individuals-and-entities and
                        https://www.mas.gov.sg/regulation/anti-money-laundering/targeted-
                        financial-sanctions/regulations-for-targeted-financial-sanctions; or
                      4. an individual or corporate body who is otherwise prohibited or ineligible in
                        any way, whether in full or in part, under any Law applicable to such
                        individual or corporate body from possessing, operating, or accessing the
                        Hardware, Software, or Services.


                   If you are not authorized to use the Hardware, Software, or Services under
                   this Section 1, you are deemed a "Disqualified Person" under these Terms.


                   2. Definitions
                   Any capitalized terms provided herein has the following meanings:

                      1. "Action" has the meaning set forth in Section 14.1.
                      2. "Customer Data" means information, data, and other content, in any form
                        or medium, that is collected, downloaded, or otherwise received, directly or
                        indirectly, from you by or through the Hardware, Software, and/or Portal.
                        Customer Data does not include Resultant Data.
                      3. "D.E.B.T. Hosting Credits" means hosting credits purchased by You on an
                        ad hoc basis and redeemable for D.E.B.T. hosting your Software and Project
                        Mining Licenses. D.E.B.T. Hosting Credits do not require the purchase of a
                        VBOX.
                      4. "Disputes" has the meaning set forth in Section 17.
                      5. "Disqualified Person" has the meaning set forth in Section 1 above.
                      6. "Documentation" means D.E.B.T.'s end-user documentation relating to the
                        Hardware, Software, Hosting and/or Portal that D.E.B.T. provides or makes
                        available to you in any form or medium which describes the functionality,
                        components, features, or requirements of the Software, including any
                        aspect of the installation, configuration, integration, operation, or use of the
                        Hardware, Software, Hosting and/or Portal with any applicable Project
                        Mining License.
                      7. "Excluded Jurisdictions" has the meaning set forth in Section 1 above.
                      8. "Fees" has the meaning set forth in Section 3.3 below.
                      9. "Hardware" means a physical electronic hardware device, capable of
                        running Software and operating up to twenty (20) Project Mining Licenses.
                     10. "Harmful Code"means any software, hardware, or other technology, device,
                        or means, including any virus, worm, malware, or other malicious computer
                        code, the purpose or effect of which is to (a) permit unauthorized access to,
                        or to destroy, disrupt, disable, distort, or otherwise harm or impede in any
                        manner any (i) computer, software, firmware, hardware, system, or network;
                        or (ii) any application or function of any of the foregoing or the security,
                        integrity, confidentiality, or use of any data processed thereby; or (b)
                      prevent any customer of D.E.B.T. from accessing or using the Portal,
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                   Hardware,             125-3
                             or Software as intendedFiled  09/01/23
                                                    by these Terms. PageID.2141 Page 96 of 119
                   11. "Indemnitee" has the meaning set forth in Section 14.3.
                   12. "Indemnitor" has the meaning set forth in Section 14.3.
                   13. "Intellectual Property Rights" means any and all registered and
                      unregistered rights granted, applied for, or otherwise now or hereafter in
                      existence under or related to any patent, copyright, trademark, trade secret,
                      database protection, or other intellectual property rights Laws, and all
                      similar or equivalent rights or forms of protection, in any part of the world.
                   14. "JAMS" has the meaning set forth in Section 17.
                   15. "Law(s)" means any statute, law, ordinance, regulation, rule, code, order,
                      constitution, treaty, common law, judgment, decree, or other requirement
                      of any federal, state, local, or foreign government or political subdivision
                      thereof, or any arbitrator, court, or tribunal of competent jurisdiction.
                   16. "Losses" means any and all losses, damages, deficiencies, claims, actions,
                      judgments, settlements, interest, awards, penalties, fines, costs, or expenses
                      of whatever kind, including reasonable attorneys' fees and the costs of
                      enforcing any right to indemnification hereunder and the cost of pursuing
                      any insurance providers.
                   17. "Maintenance Release(s)" means any update, upgrade, release, or other
                      adaptation or modification of the Software, including any updated
                      Documentation, that D.E.B.T. may provide to you from time to time, which
                      may contain, among other things, error corrections, enhancements,
                      improvements, or other changes to the user interface, functionality,
                      compatibility, capabilities, performance, efficiency, or quality of the
                      Software, but does not include any new version of the Software.
                   18. "Open Source Component(s)" means any software component that is
                      subject to any open source license agreement, including any software
                      available under the GNU Affero General Public License (AGPL), GNU General
                      Public License (GPL), GNU Lesser General Public License (LGPL), Mozilla
                      Public License (MPL), Apache License, BSD licenses, or any other license that
                      is approved by the Open Source Initiative.
                   19. "Open Source Licenses" has the meaning set forth in Section 4.3.
                   20. "Portal" has the meaning set forth in Section 9.1.
                   21. "Project Mining License" means a license to mine tokens, and earn
                      rewards, associated with a specific project.
                   22. "Resultant Data" means data and information related to your use of the
                      Hardware, Software and/or Portal that is used by D.E.B.T. in an aggregate
                      and/or anonymized manner, including to compile statistical and
                      performance information related to the provision and operation of the
                      Hardware, Software and/or Portal.
                   23. "Services" has the meaning set forth in the Preamble.
                   24. "Software" means the executable, object code version of the software (A)
                      pre-loaded on the Hardware, (B) the software made available to you to
                      install on your personal computer or laptop, or otherwise on a third-party
                      server (e.g., AWS), (C) any Project Mining License; (D) the VBOX, and (E) any
                      Maintenance Releases provided to you pursuant to these Terms.
                   25. "Terms" has the meaning set forth in Section 16.
                   26. "Tokens" means the cryptocurrency generated as a result ofutilizing the
                      Software and Hardware in accordance with these Terms.
                   27. "VBOX" means the virtual machine hosted by D.E.B.T., available for purchase
                      by You, solely for the operation of your purchased Software and Project
                      Mining Licenses. Each VBOX is capable of operating up to twenty (20)
                      Project Mining Licenses per purchased VBOX access right.
                   28. "VBOX Credits" means the credits provided to you by D.E.B.T. on a monthly
                      basis with your purchase of access and use rights to a VBOX, which are
                      necessary to run an applicable Project Mining License on a VBOX.
                   29. "Warranty Period" has the meaning set forth in Section 12.1 below.
                   30. "Website" means a website offered by us or our authorized resellers that
                      link to or otherwise require the agreement with these Terms.
              3. Purchase Terms
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                 1. Orders and Acceptance. You agree that any order to purchase Hardware,
                   Software, or services is an offer under these Terms. All orders must be
                   accepted by us or we will not be obligated to complete the sale. We may
                   choose not to accept orders at our sole discretion, even after we send you a
                   confirmation email with your order number and details of your order.
                 2. Hardware Purchases and Restrictions. If You purchased a license before
                   January 1, 2023 are entitled, upon written request, and subject to availability
                   and regulatory compliance, and legal approval, to receive Hardware capable
                   of running applicable Software at no additional charge. This right to free
                   Hardware with the purchase of Software is limited to a Licensee's first
                   purchase only, at a limit of one per individual. Any additional Hardware
                   desired by you or otherwise required to run additional Project Mining
                   Licenses must be purchased at the then current Fee price (as further
                   provided in Section 3.3 below). You may not obtain any additional Hardware
                   for free under any circumstances. You agree that you will not create any
                   secondary accounts, or use other third parties as a proxy to obtain any
                   additional free Hardware.
                 3. Fees. The current price of applicable Hardware, rights to VBOX, and
                   respective Project Mining License are set forth in the Order section of the
                   D.E.B.T. Portal.
                 4. Payment Terms. We accept payment for Hardware, Software and Project
                   Mining Licenses using only the accepted cryptocurrencies or tokens
                   identified in the Order section of the Portal.:
                       1. Cryptocurrency Payment – Payment of accepted cryptocurrencies
                          and project Tokens will be at the rates equivalent to the comparative
                          U.S. Dollar value of such cryptocurrency, or project Token, at the time
                          of the purchase.
                       2. Accuracy of Payment Information –You represent and warrant that
                          (a) the payment information, including any related digital wallet
                          information for transactions you supply to us are true, correct and
                          complete; (b) you are duly authorized to use such payment
                          information to make a purchase; and (c) you will pay charges incurred
                          by you at the posted Fee prices, including shipping and handling
                          charges and all applicable taxes, if any, incurred at the time of your
                          order.



              4. Licenses; Security Measures
              Intellectual Property Rights
                 1. License Grant to Software. Subject to and conditioned on your payment of
                   the respective Fees for the applicable Software, and further conditioned
                   upon the compliance with these Terms, D.E.B.T. hereby grants to you a non-
                   exclusive, non-sublicensable, and non-transferable license to use the
                   Software and Documentation to run Project Mining Licenses you selected
                   and paid Fees to participate in, on the purchased Hardware, purchased
                   rights to VBOX, and/or in order to run the Software on your personal
                   computer, personal laptop, or a third-party server.
                 2. D.E.B.T. Hosting Access Rights. Subject to your compliance with these Terms,
                   if you purchased VBOX or have a balance of D.E.B.T. Hosting Credits, D.E.B.T.
                   hereby grants to you a limited, non-exclusive, revocable, non-transferrable,
                   non-assignable, right to access the Services in accordance with this Section
                   4.2. in accordance with this Section 4.2. D.E.B.T. hosting of your Project
                   Mining Licenses requires a VBOX with sufficient VBOX Credits or D.E.B.T.
                   Hosting Credits.
                       1. VBOX Credits. Credits (each a "VBOX Credit") are required to operate
                          the Software on a VBOX. Each VBOX is capable of operating up to
                               twenty (20) Project Mining Licenses. With your purchase of VBOX,
Case 2:23-cv-00482-RJS D.E.B.T.
                        Documentwill, on a 125-3    Filed
                                           monthly basis,    09/01/23
                                                          provide           PageID.2143
                                                                  you with enough VBOX  Page 98 of 119
                               Credits to host up to twenty licenses for the respective month. VBOX
                               Credits can be managed in the hosting section of your account.
                            2. D.E.B.T. Hosting Credits. You may purchase D.E.B.T. Hosting Credits on
                               an individual basis. Each D.E.B.T. Hosting Credit is entitles you to a
                               month of D.E.B.T. hosting of one (1) Project Mining License. D.E.B.T.
                            3. VBOX Credits and D.E.B.T. Hosting Credits are non-refundable and
                               non-transferrable and are NOT forms of digital currency.
                      3. Open Source Licenses. The Software includes Open Source Components
                        licensed for use with the Software. Any use of the Open Source
                        Components by you is governed by, and subject to, the terms and
                        conditions of the applicable open source license(s).
                      4. Security Measures. The Hardware, Software, and Services may contain
                        technological measures designed to prevent unauthorized or illegal use.
                        You acknowledge and agree that D.E.B.T. may use these technological
                        measures and other lawful measures to verify your compliance with these
                        Terms and enforce D.E.B.T.'s rights, including all Intellectual Property Rights,
                        in and to the Software and Services.
                      5. License and Use Restrictions for the Services and Software. Except as these
                        Terms expressly permit, and subject to Section 4.3 with respect to Open
                        Source Components, you shall not:
                            1. Subject to 4.6 below, copy the Software or Services, in whole or in
                               part;
                            2. modify, correct, adapt, translate, enhance, or otherwise prepare
                               derivative works or improvements of any Software or Services;
                            3. rent, lease, lend, sell, sublicense, assign, distribute, publish, transfer,
                               or otherwise make available the Software or Services to any third
                               party;
                            4. reverse engineer, disassemble, decompile, decode, or adapt the
                               Software or Portal, or otherwise attempt to derive or gain access to
                               the source code of the Software or Services, in whole or in part;
                            5. bypass or breach any security device or protection used for or
                               contained in the Software, Services, or Documentation;
                            6. input, upload, transmit, or otherwise provide, any information or
                               materials that are unlawful or injurious, or contain, transmit, or
                               activate any Harmful Code;
                            7. remove, delete, efface, alter, obscure, translate, combine, supplement,
                               or otherwise change any trademarks, terms of the Documentation,
                               warranties, disclaimers, or Intellectual Property Rights, proprietary
                               rights or other symbols, notices, marks, or serial numbers on or
                               relating to any copy of the Software, Portal, or Documentation;
                            8. use the Software or Portal in any manner or for any purpose that
                               infringes, misappropriates, or otherwise violates any Intellectual
                               Property Right or other right of any person, or that violates any
                               applicable Law;
                            9. use the Software or Portal for purposes of: (i) benchmarking or
                               competitive analysis of the Software or Portal; (ii) developing, using,
                               or providing a competing software product or service; or (iii) any
                               other purpose that is to D.E.B.T.'s detriment or commercial
                               disadvantage; and
                           10. use the Software, Portal, or Documentation in any manner or for any
                               purpose or application not expressly permitted under these Terms.
                      6. Limited right to make copies of the Software for applicable licenses to run on
                        a personal computer, personal laptop, or third-party server. If you did not
                        purchase Hardware or a VBOX, and intend to instead run the respective
                        Software licenses independently using a personal computer, personal
                        laptop, or third-party server, D.E.B.T. hereby grants you a limited right to
                        make a single copy of each held Software license as necessary to run such
                     Software license on the applicable personal computer, personal laptop, or
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                   third-party server. 125-3 Filed 09/01/23 PageID.2144 Page 99 of 119
                   7. Intellectual Property Rights. You acknowledge that:
                         1. the Software, rights to use the Portal, and Documentation are
                            licensed, not sold, to you by D.E.B.T. and you do not have under or in
                            connection with these Terms any ownership interest in or to the
                            Software or Documentation, or in any related Intellectual Property
                            Rights therein.
                         2. D.E.B.T. and its applicable licensors are the sole and exclusive owners
                            of all right, title, and interest in and to the Software, Portal, and
                            Documentation, including all Intellectual Property Rights relating
                            thereto, subject only to the rights of third parties in Open Source
                            Components and the limited license granted to you under these
                            Term; and
                         3. you hereby unconditionally and irrevocably assign to D.E.B.T. or
                            D.E.B.T.'s designee, your entire right, title, and interest in and to any
                            Intellectual Property Rights that you may now or hereafter have in or
                            relating to the Software, Documentation, and resultant Data
                            (including any rights in derivative works or patent improvements),
                            whether held or acquired by operation of Law, contract, assignment
                            or otherwise.
                   8. No Implied Rights. Except for the limited rights and licenses expressly
                     granted under these Terms, nothing in these Terms grants, by implication,
                     waiver, estoppel or otherwise, to you or any third party, any Intellectual
                     Property Rights or other right, title, or interest in or to any of the Software,
                     Portal, or Documentation.



                5. Community Guidelines
                Users of D.E.B.T. are a community, and certain third-party services like
                Discord, Telegram, and others are used to help our users connect and
                engage in discussions. These guidelines provided in this Section 5 explain
                what is and isn't allowed when engaging with our community through any
                such third-party services. Without limiting the foregoing, such third-party
                services may have their own community guidelines or acceptable use
                policies, which shall in no way supersede these guidelines applicable to
                your use of Hardware, Software, and Services.

                   1. Respecting Users.
                            Do not harass others or organize, promote, or participate in
                            harassment.
                            Do not organize, promote, or participate in hate speech or hateful
                            conduct.
                            Do not make threats of violence or threaten to harm others.
                            Do not use Discord for the organization, promotion, or support of
                            violent extremism.
                            Do not share content that violates anyone's intellectual property or
                            other rights.
                            Do not disparage D.E.B.T. or our partners, vendors or affiliates.
                   2. Honesty; No Misrepresentations.
                            Do not share false or misleading information (otherwise known as
                            misinformation).
                            Do not coordinate or participate in malicious impersonation of an
                            individual or an organization (including D.E.B.T.).
                            Do not make threats of violence or threaten to harm others.
               6. Suspension and
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               Termination Rights
               D.E.B.T. may, directly or indirectly, suspend, terminate, or otherwise deny
               your access to the Services, including the Portal, and ability to mine any
               project Tokens, without incurring any resulting obligation or liability, if: (i)
               D.E.B.T. receives a judicial or other governmental demand or order,
               subpoena, or law enforcement request that expressly or by reasonable
               implication requires D.E.B.T. to do so, or (ii) D.E.B.T. believes, in its sole
               discretion, that (A) you have failed to comply with any part of these Terms,
               or (B) you are, have been, or are likely to be involved in any fraudulent,
               misleading, or unlawful activities related to or in connection with the use of
               the Software. This Section 6 does not limit any of D.E.B.T.'s other rights or
               remedies, whether at Law, in equity or under these Terms.


               7. Maintenance Releases
               During the Warranty Period, and at D.E.B.T.'s sole discretion following the
               Warranty Period, D.E.B.T. will provide you with all Maintenance Releases
               (including updated Documentation) that we may, in our sole discretion,
               make generally available to its licensees at no additional charge. All
               Maintenance Releases provided by D.E.B.T. to you are deemed Software.
               You will install all Maintenance Releases as soon as practicable after receipt.
               You do not have any right hereunder to receive any new versions of the
               Software that D.E.B.T. may, in its sole discretion, release from time to time.


               8. Digital Wallet
               The digital wallet used in the Software is an Open-Source Component.
               Such digital wallet has a public key and a private key. You will be provided
               the private key and will alone have access to such private key. D.E.B.T. does
               not store your private key in any reasonably accessible manner and cannot
               help you retrieve your private key if you lose such private key. You have the
               sole responsibility to maintain, in your fully secure possession, the
               credentials for accessing your digital wallet, including the private key for
               your digital wallet.


               9. D.E.B.T. Portal
                   1. Portal. Use of the Hardware, mining of any project Tokens, and earning any
                     rewards further requires the creation and maintenance of an account for
                     our D.E.B.T. dashboard (such dashboard herein referred to as the "Portal").
                     D.E.B.T. hereby grants you a non-exclusive, non-transferable right to access
                     and use the Portal during the Term in accordance with the terms and
                     conditions herein. Such use is limited to your internal use with your
                     Hardware and Software.
                   2. Changes to the Portal. D.E.B.T. reserves the right, in its sole discretion, to
                     make any changes to the Portal that it deems necessary or useful to: (a)
                     maintain or enhance: (i) the quality or delivery of the Portal and its related
                     services to its customers; or (ii) the Portal's cost efficiency or performance;
                     or (b) to comply with applicable Law.
                   3. Portal Use Restrictions. Use restrictions of the Portal are set forth in Section
                     4.5 above.
                   4. Portal Account. To make use of any purchased license, you will need to
                     create an account, including providing a verifiable email address and
                     creating a unique password. You are responsible for your account activity,
                     including unauthorized activity. You must safeguard the confidentiality of
                        your account credentials, including your username and password. If you
Case 2:23-cv-00482-RJS   Document
                    become              125-3 access
                           aware of unauthorized Filed
                                                     to 09/01/23       PageID.2146
                                                        your account, you must change Page 101 of 119
                        your password and notify us immediately.
                      5. Customer Data. The Portal, connected through your established account
                        and connected Hardware, Software and will process Customer Data. As
                        between you and D.E.B.T., you are and will remain the sole and exclusive
                        owner of all right, title, and interest in and to all Customer Data, including
                        all Intellectual Property Rights relating thereto, subject to the rights and
                        permissions granted herein. You represent, warrant, and covenant to D.E.B.T.
                        that you own or otherwise have and will have the necessary rights and
                        consents in and relating to the Customer Data so that, as received by
                        D.E.B.T. and processed in accordance with these Terms, they do not and will
                        not infringe, misappropriate, or otherwise violate any Intellectual Property
                        Rights, or any privacy or other rights of any third party or violate any
                        applicable Law. You hereby irrevocably grant all such rights and permissions
                        in or relating to Customer Data as necessary or useful to D.E.B.T. to enforce
                        these Terms and exercise D.E.B.T.'s rights and perform D.E.B.T.'s obligations
                        hereunder. Any Customer Data collected or otherwise processed by D.E.B.T.
                        will be processed in accordance with D.E.B.T.'s privacy policy
                        theD.E.B.T.box.com/privacy.



                   10. Shipment; Title and Risk
                   of Loss
                      1. Shipment. We will arrange for shipment of purchased Hardware to you. You
                        will pay all shipping and handling charges specified during the ordering
                        process. Shipping and handling charges are reimbursements for the costs
                        we incur in the processing, handling, packing, shipping, and delivery of your
                        order.
                      2. Title and Risk of Loss. Title and risk of loss passes to you upon our transfer
                        of the products to the shipping carrier. Shipping and delivery dates are
                        estimates only and cannot be guaranteed. We are not liable for any delays
                        in shipments.



                   11. No Returns or Refunds
                   The Fees paid with respect to the Hardware, Software, including any
                   applicable Project Mining Licenses are non-refundable, and we do not
                   accept any returns of Hardware for any reason, except as otherwise may be
                   required under applicable Law.


                   12. Limited Warranty;
                   Disclaimers
                      1. Limited Hardware Warranty. D.E.B.T. warrants to you that, for a period of
                        twelve (12) months from the date of shipment of the Hardware ("Warranty
                        Period"), such Hardware shall be free from material defects in material and
                        workmanship. Our responsibility for defective Hardware is limited to repair
                        or replacement as described in Section 12.2 below.
                      2. Limited Hardware Warranty Remedy. With respect to any defective
                        Hardware during the Warranty Period, we will, in our sole discretion, either
                        repair or replace such Hardware (or the defective part) free of charge. We
                        will also pay for shipping and handling fees to return the repaired or
                        replaced Hardware to you. To obtain warranty service, you must email our
                        customer service department at support@thedebtbox.com during the
                        Warranty Period. The remedies described above are your sole and exclusive
                      remedies and our entire liability for any breach of the limited warranty
Case 2:23-cv-00482-RJS    Document
                    provided              125-3
                             in Section 12.1 above. Filed 09/01/23 PageID.2147 Page 102 of 119
                    3. Project Mining License and Associated Project Disclaimer. A PROJECT MINING
                      LICENSE IS A MINING LICENSE THAT ALLOWS YOU TO ACT AS A
                      PARTICIPATING NODE. THE SUCCESS OF ANY PROJECT RELATED TO THE
                      PROJECT MINING LICENSE, THE UNDERLYING TRANSACTIONS, AND
                      TOKENS GENERATED, AND THEIR VALUE, ARE NOT CONTROLLED IN ANY
                      WAY BY D.E.B.T. D.E.B.T. SHALL NOT HAVE ANY RESPONSIBILITY OR
                      LIABILITY FOR, ARISING OUT OF, RELATING TO, ASSOCIATED WITH OR
                      RESULTING FROM YOUR MINING OF ANY TOKENS ASSOCIATED WITH A
                      PROJECT. YOU BEAR FULL RESPONSIBILITY FOR VERIFYING THE RISKS AND
                      EVALUATING THE PROJECT A PROJECT MINING LICENSE IS ASSOCIATED
                      WITH.. FOR BASIC INFORMATION ABOUT POTENTIAL RISKS, PLEASE
                      REVIEW SECTION 12.7 BELOW.
                    4. Disclaimer Warranties. EXCEPT AS EXPRESSLY SET FORTH IN SECTION 12.1
                      ABOVE, ALL HARDWARE, SOFTWARE, AND SERVICES OFFERED BY US,
                      INCLUDING ANY HOSTING AND THE PORTAL ARE PROVIDED "AS IS"
                      WITHOUT ANY WARRANTY WHATSOEVER, INCLUDING, WITHOUT
                      LIMITATION, ANY (A) WARRANTY OF MERCHANTABILITY; (B) WARRANTY
                      OF FITNESS FOR A PARTICULAR PURPOSE; OR (C) WARRANTY AGAINST
                      INFRINGEMENT OF INTELLECTUAL PROPERTY RIGHTS OF A THIRD PARTY;
                      WHETHER EXPRESS OR IMPLIED BY LAW, COURSE OF DEALING, COURSE OF
                      PERFORMANCE, USAGE OF TRADE, OR OTHERWISE. SOME JURISDICTIONS
                      LIMIT OR DO NOT ALLOW THE DISCLAIMER OF IMPLIED OR OTHER
                      WARRANTIES, IN WHICH CASE, THE DISCLAIMER IN THIS SECTION 12.4
                      MAY NOT APPLY TO YOU. D.E.B.T. SHALL NOT BE LIABLE OR OTHERWISE
                      RESPONSIBLE FOR ANY DATA LOSS RELATING TO ANY CUSTOMER DATA,
                      AND SHALL HAVE NO OBLIGATION TO BACK-UP ANY SUCH CUSTOMER
                      DATA.
                    5. DIGITAL WALLET DISCLAIMER. D.E.B.T. HAS NO CONTROL OVER YOUR
                      DIGITAL WALLET AND CANNOT GUARANTEE THE SECURITY OF ANY SUCH
                      DIGITAL WALLET. CONTINUED STORAGE OF ANY TOKENS OR OTHER
                      DIGITAL ASSETS ON THE DIGITAL WALLET PROVIDED WITH THE HARDWARE
                      OR ANY OTHER DIGITAL WALLET YOU MAY TRANSFER TOKENS OR DIGITAL
                      ASSETS TO, IS DONE SO AT YOUR OWN RISK. IN THE EVENT OF ANY LOSS,
                      HACK OR THEFT OF ANY TOKENS OR OTHER DIGITAL ASSETS FROM YOUR
                      DIGITAL WALLET, YOU ACKNOWLEDGE AND AGREE THAT YOU SHALL HAVE
                      NO RIGHT(S), CLAIM(S) OR CAUSES OF ACTION IN ANY WAY WHATSOEVER
                      AGAINST D.E.B.T. FOR SUCH LOSS, HACK OR THEFT OF ANY SUCH DIGITAL
                      ASSET.
                    6. Inherent Risk of Cryptographic Systems. You hereby acknowledge and
                      assume the risk of using the Hardware and Software and the inherent risks
                      of blockchain technologies and mining Tokens, including:
                          1. Many market, technological and legal forces are outside the
                              exclusive control of D.E.B.T.. Cryptocurrencies such as Tokens,
                              blockchain technology, and other associated and related
                              technologies are not exclusively controlled by D.E.B.T. and adverse
                              changes in market forces, including but not limited to, amendments
                              to regulatory or intellectual property Law, technological
                              advancements, decreases in token or cryptocurrency or cryptographic
                              token utility, social or economic reforms, the failure of commercial
                              relationships, or the malfunction, breakdown or abandonment of the
                              cryptocurrency protocols may affect the value of any project Token.
                          2. The application of blockchain technology is novel and untested
                              and may contain inherent flaws or limitations. Blockchain is an
                              emerging technology that offers new capabilities which are not fully
                              proven in use. Risks associated with the blockchain technology could
                              affect the financial performance of any project token, including the
                              market for blockchain assets generally.
                           3. The success of any respective project Token requires interest
Case 2:23-cv-00482-RJS from
                       Document       125-3of validators
                            a large number     Filed 09/01/23
                                                         and/or otherPageID.2148
                                                                     network     Page 103 of 119
                              participants. The success of any applicable project Token relies on a
                              significant number of parties willing to act as validators and/or
                              miners, supporters or other participants of the network. There is no
                              guarantee however, that a sufficient number of individuals will
                              continue participate in the blockchain associated with a specific
                              project Token. No one is contractually or legally obligated to continue
                              to participate in any applicable blockchain and may cease
                              participation if they determine that such participation is no longer
                              profitable, if they are prevented from doing so by government or
                              regulatory agencies, or for any other reason. If participants cease to
                              continue supporting the respective blockchain for a certain project
                              Token, such blockchain may be unable to function and the value of
                              underlying Tokens may decline or decrease to zero.
                           4. Tokens are not insured. Tokens are not insured by any
                              governmental or regulatory entity. In the event of loss, or the loss of
                              the utility value of Tokens, you will have no recourse (and shall never
                              have recourse against D.E.B.T. in accordance with these Terms) unless
                              you have obtained private insurance for such respective Tokens.
                           5. There is no guarantee that any Tokens will hold value or increase
                              in value. Tokens and other cryptocurrencies are highly speculative,
                              and any increase in value of respective project Tokens is contingent
                              upon numerous circumstances, many of which (including legal and
                              regulatory conditions) are beyond D.E.B.T.'s control. There is no
                              assurance that any project Token will increase in value, or that
                              applicable project Tokens will have any value or liquidity when you
                              acquire them.
                           6. The tax treatment of the tokens is uncertain and there may be
                              adverse tax consequences. The tax characterization of project
                              Tokens is uncertain, and holding Tokens may result in adverse tax
                              consequences.
                           7. Regulatory Uncertainty. The regulatory regime governing
                              blockchain technologies, cryptocurrency, and other crypto-based
                              items is uncertain, and new regulations or policies may materially
                              adversely affect the value of any Project Mining License and/or
                              project Tokens generated using the Hardware and Software.
                           8. Distributed Ledger Technology risk. There are risks associated with
                              using Internet and distributed-ledger or other blockchain based
                              products, including, but not limited to, the risk associated with
                              hardware, software, and Internet connections, the risk of malicious
                              software introduction, and the risk that third parties may obtain
                              unauthorized access to your digital wallet or account.
                           9. Third-Party Services. We do not control third-party services or
                              products like the underlying blockchains that the greater D.E.B.T.
                              ecosystem runs on, the digital wallets, or other third-party products
                              that you may be interacting with that may be integral to your ability
                              mine and store Tokens. Such third parties may experience system
                              outages or other technological events that disrupt your ability to use
                              the Software, including mine Tokens, during such disruption.
                     7. No Investment Advice. D.E.B.T. is acting solely as a technology services
                       provider and does not provide any investment, tax or other advisor services
                       regarding Tokens, projects, or otherwise.
                     8. Applicable Law. The use of the Hardware and Software are subject to all
                       applicable Laws. D.E.B.T. reserves the right to make changes to its policies,
                       operational guides, procedures, and protocols, including any changes to
                       Documentation and/or Software, as necessary to comply with Law.



                  13. Limitation of Liability
                 IN NO EVENT SHALL WE BE LIABLE TO YOU OR ANY THIRD PARTY FOR
                CONSEQUENTIAL,
Case 2:23-cv-00482-RJS         INDIRECT,
                        Document         INCIDENTAL,
                                     125-3           SPECIAL, EXEMPLARY,
                                              Filed 09/01/23     PageID.2149 Page 104 of 119
                 PUNITIVE OR ENHANCED DAMAGES, LOST PROFITS OR REVENUES OR
                 DIMINUTION IN VALUE, ARISING OUT OF, OR RELATING TO, AND/OR IN
                 CONNECTION WITH ANY BREACH OF THESE TERMS, REGARDLESS OF
                 (A) WHETHER SUCH DAMAGES WERE FORESEEABLE, (B) WHETHER OR
                 NOT WE WERE ADVISED OF THE POSSIBILITY OF SUCH DAMAGES AND
                 (C) THE LEGAL OR EQUITABLE THEORY (CONTRACT, TORT OR
                 OTHERWISE) UPON WHICH THE CLAIM IS BASED. OUR SOLE AND
                 ENTIRE MAXIMUM LIABILITY AND YOUR SOLE AND EXCLUSIVE REMEDY
                 FOR ANY CAUSE WHATSOEVER, SHALL BE LIMITED TO THE ACTUAL
                 AMOUNT PAID BY YOU FOR THE PRODUCTS AND SERVICES YOU HAVE
                 ORDERED THROUGH OUR WEBSITE.


                 14. Indemnification
                    1. D.E.B.T. Indemnification of You. D.E.B.T. shall indemnify, defend, and hold
                      you harmless from and against any and all Losses incurred by you resulting
                      from any claim, action, cause of action, demand, lawsuit, arbitration, inquiry,
                      audit, proceeding, litigation, citation, summons, subpoena, or investigation
                      of any nature, civil, criminal, administrative, regulatory, or other, whether at
                      Law, in equity, or otherwise, ("Action") by a third party that the Software or
                      Documentation, or any use of the Software or Documentation in
                      accordance with these Terms, infringes or misappropriates such third party's
                      US Intellectual Property Rights. This Section 14.1 does not apply to the
                      extent that the alleged infringement arises from:
                          1. combination, operation, or use of the Software in or with, any
                             technology (including any software, hardware, firmware, system, or
                             network) or service not provided by D.E.B.T. or specified for your use
                             in the Documentation;
                          2. modification of the Software other than: (a) by D.E.B.T. in connection
                             with these Terms; or (b) with D.E.B.T.'s express written authorization
                             and in strict accordance with D.E.B.T.'s written directions and
                             specifications;
                          3. use of any version of the Software other than the most current
                             version or failure to timely implement any Maintenance Release,
                             modification, update, or replacement of the Software made available
                             to you by D.E.B.T.;
                          4. use of the Software after D.E.B.T.'s notice to you of such activity's
                             alleged or actual infringement, misappropriation, or other violation of
                             a third party's rights;
                          5. negligence, abuse, misapplication, or misuse of the Hardware, the
                             Software or Documentation by or on behalf of you, your
                             representatives, or a third party;
                          6. use of the Hardware, Software, Services, or Documentation by or on
                             behalf of you that is outside the purpose, scope, or manner of use
                             authorized by these Terms or in any manner contrary to D.E.B.T.'s
                             instructions;
                          7. events or circumstances outside of D.E.B.T.'s commercially reasonable
                             control (including any third-party hardware, software, or system bugs,
                             defects, or malfunctions); or
                          8. third-party claims or Losses for which you are obligated to indemnify
                             D.E.B.T. pursuant to Section 14.2.
                    2. Your Indemnification of D.E.B.T.. You agree that you shall indemnify, defend,
                      and hold harmless D.E.B.T. and its affiliates, and each of its and their
                      respective officers, directors, employees, agents, subcontractors, successors
                      and assigns from and against any and all Losses incurred by you resulting
                      from any Action by a third party:
                              1. that any Intellectual Property Rights is or will be infringed,
Case 2:23-cv-00482-RJS misappropriated,
                       Document 125-3            Filed
                                        or otherwise      09/01/23
                                                     violated by any use PageID.2150
                                                                         or combination of Page 105 of 119
                                 the Software and/or Portal by you with any hardware, software,
                                 system, network, service, or other matter whatsoever that is neither
                                 provided by D.E.B.T. nor authorized by D.E.B.T. under these Terms and
                                 the Documentation; and
                              2. relating to facts that, if true, would constitute a breach by you of any
                                 representation, warranty, covenant, or obligation under these Terms;
                              3. relating to your negligence, abuse, misapplication, misuse or more
                                 culpable act or omission (including recklessness or willful
                                 misconduct) with respect to the Software, Portal, or Documentation
                                 or otherwise in connection with these Terms; or
                              4. relating to your use of the Software or Portal that is outside the
                                 purpose, scope or manner of use authorized by these Terms or the
                                 Documentation, or in any manner contrary to D.E.B.T.'s instructions.
                       3. Indemnification Procedures. Each party shall promptly notify the other party
                          in writing of any Action for which such party believes it is entitled to be
                          indemnified pursuant to Section 14.1 or Section 14.2. The party seeking
                          indemnification (the "Indemnitee") shall cooperate with the other party
                          (the "Indemnitor") at the Indemnitor's sole cost and expense. The
                          Indemnitor shall promptly assume control of the defense and investigation
                          of such Action and shall employ counsel of its choice to handle and defend
                          the same, at the Indemnitor's sole cost and expense. The Indemnitee may
                          participate in and observe the proceedings at its own cost and expense with
                          counsel of its own choosing. The Indemnitor shall not settle any Action on
                          any terms or in any manner that adversely affects the rights of any
                          Indemnitee without the Indemnitee's prior written consent, which shall not
                          be unreasonably withheld or delayed. The Indemnitee's failure to perform
                          any obligations under this Section 14.3 will not relieve the Indemnitor of its
                          obligations under this Section 14, except to the extent that the Indemnitor
                          can demonstrate that it has been materially prejudiced as a result of such
                          failure.



                    15. Goods Not for Resale or
                    Export
                    You represent and warrant that you are buying the Hardware, Software,
                    and Services from Us for your own personal or household use only, and not
                    for resale or export. You further represent and warrant that all purchases
                    are intended for final delivery to locations outside the Excluded
                    Jurisdictions and will not be provided to any Disqualified Person.


                    16. Term
                    This agreement shall commence on the day you accept these terms and
                    shall continue for so long as you use the Hardware, Software, and/or
                    Services (the "Term").


                    17. Dispute Resolution
                    PLEASE READ THIS SECTION CAREFULLY BECAUSE IT IS AN AGREEMENT
                    TO ARBITRATE DISPUTES AND LIMITS THE MANNER IN WHICH YOU CAN
                    SEEK RELIEF.

                    In consideration for our provision of the Hardware, Portal, and Software to
                    you, you and D.E.B.T. each agree that any and all disputes or claims arising
                    under, out of, in connection with, or related to your use of the Hardware,
                    Portal, Software, or these Terms in any fashion, or the subject matter,
                   negotiation, performance, termination, interpretation, or formation of the
                agreement resulting
Case 2:23-cv-00482-RJS    Document  from 125-3
                                         your acceptance of these Terms,
                                                  Filed 09/01/23         (a "Dispute")
                                                                      PageID.2151      Page 106 of 119
                   must be resolved exclusively in binding arbitration. However, a party may
                   assert a claim in small claims court, if the asserted claim qualifies and so
                   long as the matter remains in such court and advances only on an
                   individual (non-class, non-representative) basis. These Terms, including the
                   right to Arbitrate, is intended to be broadly interpreted and the Federal
                   Arbitration Act governs the enforcement of these Terms to arbitrate.

                   For any Dispute with D.E.B.T., you agree first to contact us at
                   support@thedebtbox.com and attempt to resolve the Dispute with us
                   informally. In the event that we do not resolve a Dispute informally, we
                   each agree to resolve any Dispute (excluding any claims for injunctive or
                   other equitable relief) arising out of or in connection with or relating to
                   these Terms, or the breach or alleged breach thereof, by binding arbitration
                   by the Judicial Arbitration and Mediation Services ("JAMS") pursuant to its
                   Comprehensive Arbitration Rules and Procedures and shall be conducted
                   in Wyoming, unless otherwise agreed to in writing by the parties. Each
                   party will be responsible for paying any JAMS filing, administrative and
                   arbitrator fees in accordance with JAMS rules. The award rendered by the
                   arbitrator shall include costs of arbitration, reasonable attorneys' fees and
                   reasonable costs for expert and other witnesses, and any judgment on the
                   award rendered by the arbitrator may be entered in any court of
                   competent jurisdiction. Nothing in this Section shall prevent either party
                   from seeking injunctive or other equitable relief from the courts as
                   necessary to prevent the actual or threatened infringement,
                   misappropriation, or violation of that party's data security, Intellectual
                   Property Rights, or other proprietary rights.


                   18. No Class Action; No Jury
                   Trial
                   ALL CLAIMS MUST BE BROUGHT IN THE PARTIES' INDIVIDUAL CAPACITY,
                   AND NO CLASS ACTION OR REPRESENTATIVE OR PRIVATE ATTORNEY
                   GENERAL THEORIES OF LIABILITY OR PRAYERS FOR RELIEF MAY BE
                   MAINTAINED IN ANY ARBITRATION OR OTHER PROCEEDING UNDER
                   THESE TERMS. UNLESS WE AGREE OTHERWISE, THE ARBITRATOR MAY
                   NOT CONSOLIDATE MORE THAN ONE PERSON'S CLAIMS. YOU AGREE
                   THAT, BY ENTERING INTO THESE TERMS, YOU AND WE ARE EACH
                   WAIVING THE RIGHT TO A TRIAL BY JURY OR TO PARTICIPATE IN A CLASS
                   ACTION.


                   19. Miscellaneous
                      1. Severability. Every provision of these Terms will be construed, to the extent
                         possible, so as to be valid and enforceable. If any provision of these Terms is
                         construed or held by a court of competent jurisdiction to be invalid, illegal
                         or otherwise unenforceable, such provision will be deemed severed from
                         these Terms, and all other provisions will remain in full force and effect.
                      2. Governing Law. These Terms and any dispute arising out of these Terms,
                         shall be governed by and construed in accordance with the Laws of the
                         State of Wyoming, without giving effect to any choice or conflict of Law
                         provision or rule (whether of the State of Wyoming or any other jurisdiction)
                         that would cause the application of the Laws of any jurisdiction other than
                         those of the State of Wyoming.
                      3. Entire Agreement. These Terms, together with the Terms of Use, our Privacy
                         Policy, and any amendments and any additional agreements you may enter
                        with us in connection with the use of the Website, Hardware, Software, or
Case 2:23-cv-00482-RJS
                    Portal, Document        125-3
                            constitute the entire      Filedbetween
                                                  agreement   09/01/23
                                                                    you and PageID.2152
                                                                            us.         Page 107 of 119
                      4. Waiver. Our failure at any time to enforce any of the provisions of these
                        Terms or any right or remedy available hereunder or at Law or in equity, or
                        to exercise any option herein provided, will not constitute a waiver of such
                        provision, right, remedy or option or in any way affect the validity of these
                        Terms. Our waiver of any default will not be deemed a continuing waiver,
                        but will apply solely to the instance to which such waiver is directed.
                      5. Headings; Summaries. The section headings and any plain English
                        summaries appearing in these Terms are inserted only as a matter of
                        convenience and in no way define, limit, construe or describe the scope or
                        extent of such section or in any way affect such section.
                      6. No Assignment. These Terms, and any rights and licenses granted
                        hereunder, may not be transferred or assigned by you, but may be assigned
                        by us without restriction. Any attempted transfer or assignment in violation
                        hereof shall be null and void.
                      7. No Third-Party Beneficiaries_._ Other than as expressly provided in these
                        Terms, no third-party beneficiaries are intended or will be construed as
                        created by these Terms.
                      8. Survival. All Sections which by their nature should survive the termination of
                        these Terms shall continue in full force and effect, notwithstanding any
                        termination of these Terms.
                      9. Notices; Electronic Communications. D.E.B.T. may provide notifications,
                        whether such notifications are required by law or are for marketing or other
                        business-related purposes through posting of such notice on the Website.
                        You agree that all agreements, notices, disclosures, and other
                        communication we provide to you via the Website to satisfy any legal
                        requirement that such communications be in writing. We reserve the right
                        to determine the form and means of providing notification to our users.



                                       Projects
                                        Hosting
                                     Specifications
                                     Privacy Policy
                                  Terms and Conditions
                                         Store



                                     Copyright ©2021-2023 DEBT. All rights reserved.
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                      Exhibit 30
Case 2:23-cv-00482-RJS Document 125-3 Filed 09/01/23 PageID.2154 Page 109 of 119




Digital Licensing, Inc. is now Digital Commodity House LLC
      You will be forwarded in 13 seconds to our new website or you can click here.
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                      Exhibit 31
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          Case 2:23-cv-00482-RJS Document 125-3 Filed 09/01/23 PageID.2157 Page 112 of 119




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          Case 2:23-cv-00482-RJS Document 125-3 Filed 09/01/23 PageID.2158 Page 113 of 119




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          Case 2:23-cv-00482-RJS Document 125-3 Filed 09/01/23 PageID.2159 Page 114 of 119




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                      Exhibit 32
     Case 2:23-cv-00482-RJS Document 125-3 Filed 09/01/23 PageID.2161 Page 116 of 119


Englander, Alex M (WPB - X28339)

From:                 Ross, David E. <dross@morrisoncohen.com>
Sent:                 Tuesday, August 22, 2023 10:32 PM
To:                   Mascianica, Scott (DAL - X62106); Englander, Alex M (WPB - X28339); ayarm
Cc:                   jgottlieb; Magee, Jessica B (DFW - X61375)
Subject:              RE: SEC v. Digital Licensing - Urgent Call


[External email]
Scott, Jessica and Alex,

Further to my email below, and to correct the record, we reject your mischaracterization that our clients failed to
identify three DLI hardware wallets. As we previously stated to you, the hardware wallets belong to DCH, not DLI. DCH
and DLI are separate entities with separate assets and we accordingly find your attempt to refer to them
interchangeably both inappropriate and factually incorrect. Our clients provided information to the Receiver concerning
DCH in the interest of full disclosure and cooperation – and without prejudice to all of their rights and remedies.

At bottom, this is a collaborative process that deals with, among other things, a complex set of assets, and your
inaccurate accusations and purported allegations of "acknowledgment" of malfeasance are unwarranted and unhelpful.

To be clear, our clients in no way acknowledge that DCH or its assets are subject to the receivership order and they
expressly reserve their rights in this and all other respects.

Thank you.

-Dave



David E. Ross
Partner
T: 212.735.8841 | F: 917.522.9941

dross@morrisoncohen.com
vCard| Bio| LinkedIn

Morrison Cohen LLP

909 Third Avenue

27th Floor

New York, NY 10022

www.morrisoncohen.com




-------- Original message --------
From: "Ross, David E." <dross@morrisoncohen.com>
Date: 8/22/23 6:31 PM (GMT-05:00)
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                      Exhibit 33
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   6
       a)

       b)

            (i)

            (ii)

            (iii)



                     i.
                    ii.
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              iii.
              iv.
               v.
              vi.
             vii.
             viii.




       c)



       d)



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